              Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 1 of 91




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, FRIENDSHIP-
WEST BAPTIST CHURCH, THE ANTI-DEFAMATION
LEAGUE AUSTIN, SOUTHWEST, AND TEXOMA
REGIONS, SOUTHWEST VOTER REGISTRATION
EDUCATION PROJECT, TEXAS IMPACT, MEXICAN
AMERICAN BAR ASSOCIATION OF TEXAS, TEXAS
HISPANICS ORGANIZED FOR POLITICAL
EDUCATION, JOLT ACTION, WILLIAM C.
VELASQUEZ INSTITUTE, FIEL HOUSTON INC., and
JAMES LEWIN,

                        Plaintiffs,

v.
                                                                         Case No. 5:21-cv-00844-XR
THE STATE OF TEXAS, JOHN B. SCOTT, in his official
capacity as the Texas Secretary of State, WARREN K.
PAXTON, in his official capacity as the Texas Attorney
General, MICHAEL SCARPELLO, in his official capacity
as the Dallas County Elections Administrator, JOHN
CREUZOT, in his official capacity as the Dallas County
District Attorney, LISA WISE, in her official capacity as the
El Paso County Elections Administrator, YVONNE
ROSALES, in her official capacity as the El Paso County
District Attorney, and JOSÉ GARZA, in his official capacity
as the Travis County District Attorney,

                        Defendants.

         SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                                 RELIEF

            Plaintiffs are membership and community-based organizations, many of whom represent

     the interests of Latino and Black Texans, churches and other faith-based groups, and a Texan who

     has served as an election judge. Plaintiffs bring this action to challenge Senate Bill 1 (“SB1”), a

     new law that (among other things) restricts voter assistance; enables partisan poll watchers to

     intimidate voters and poll workers; and threatens to criminalize community-based voter
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 2 of 91




engagement activities that are otherwise protected by the United States Constitution, federal

election law and the Texas Election Code. On behalf of themselves and their members, Plaintiffs

seek declaratory and injunctive relief to enforce the United States Constitution, the Voting Rights

Act of 1965 (“VRA”), and the Americans with Disabilities Act (“ADA”).

                                      I.      INTRODUCTION

       1.         The 2020 general election in Texas was, according to the Texas Secretary of State’s

office, “smooth and secure.” 1 In the face of a global pandemic, the performance by Texas officials

and voters alike during the 2020 election showcased their strength to overcome obstacles and fulfill

the promise of democratic participation even, and perhaps especially, in light of a changing Texas

electorate.

       2.         Despite this, now on its third try, the Texas Legislature enacted SB1. This new law

imposes a series of additional burdens and restrictions that will have the effect of suppressing

Texas voters and discouraging—including by criminalizing—work that has long been performed

faithfully by public employees, private organizations and individuals to help citizens exercise their

constitutional right to vote. Among its many provisions, SB1:

              •   Targets Texans who need assistance to vote—including people who have limited

                  English proficiency, disabilities, and/or less formal education—by adding multiple

                  new requirements that hinder the provision of assistance at the polling place,

                  curbside, or in connection with mail ballots (e.g., Sections 6.01 (adding Sections

                  64.009(e), (f), (f-1), and (g) to the Election Code), 6.03 (adding Section 64.0322 to



1
  Taylor Goldenstein et al., Did a ‘Smooth and Secure’ 2020 Election Cost Texas Secretary of
State Her Job?, Houston Chronicle (May 21, 2021), https://www.houstonchronicle.com/politics/
texas/article/Texas-Secretary-of-State-Ruth-Hughs-resigns-under-16195586.php; also available at
https://electionlawblog.org/?p=122282.

                                                    2
Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 3 of 91




     the Election Code), 6.04 (amending Section 64.034 of the Election Code), 6.05

     (amending Section 86.010(e) of the Election Code), and 6.06 (amending Sections

     86.0105(a), (c), and (e) of the Election Code)).

 •   Gives partisan poll watchers “free movement” to intimidate and harass voters and

     poll workers by expanding watchers’ authority, while constraining election

     administrators’ ability to ensure peaceful, orderly elections under penalty of

     criminal prosecution (e.g., Sections 4.01 (adding Section 32.075(g) to the Election

     Code), 4.06 (adding Section 33.051(g) to the Election Code), 4.07 (adding Section

     33.056(e) to the Election Code), and 4.09 (amending Section 33.061(a) of the

     Election Code)).

 •   Quashes protected political speech and legitimate voter turnout initiatives through

     overbroad and vague criminal penalties for so-called “vote harvesting”

     (Section 7.04 (adding Section 276.015 to the Election Code)).

 •   Restricts counties from offering accommodations that facilitated record turnout in

     2020, including allowing for drive-thru voting (Section 3.04 (amending Section

     43.031(b) of the Election Code)), permitting the use of movable structures as

     polling places (Sections 3.12 (amending Section 85.061(a) of the Election Code)

     and 3.13 (amending Section 85.062(b) and adding Section 85.062(f) to the Election

     Code)), and authorizing 24-hour early voting (Sections 3.09 (amending Sections

     85.005(a) and (c) of the Election Code) and 3.10 (amending Sections 85.006(e) of

     the Election Code)).

 •   Requires election clerks to reject otherwise valid mail ballot applications and mail

     ballots because of simple errors or omissions notwithstanding the clerk’s ability to



                                       3
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 4 of 91




                verify the mail ballot application or mail ballot by other means (Sections 5.07

                (adding Section 86.001(f) to the Election Code) and 5.13 (amending Section

                87.041(b) of the Election Code)).

            •   Facilitates the investigation and prosecution of perfectly legal activity by voters,

                such as being excused from jury service or having the same name as a non-U.S.

                citizen or non-resident in the county (Sections 2.04 (amending Section 15.028 of

                the Election Code), 2.06 (adding Sections 18.065(e)-(g) to the Election Code), 2.07

                (amending Section 18.068(a) and adding Section 18.068(a-1) to the Election Code),

                2.08 (amending Section 31.006 of the Election Code), and 2.11 (amending Sections

                62.114(b) and (c) of the Government Code)).

            •   Forces election officials to shift resources to meet tight deadlines for reporting

                voters for investigation and removing voters from the rolls to avoid additional

                requirements and penalties (Sections 2.06 (adding Section 18.065(e)-(g) to the

                Election Code)).

       3.       Governor Gregory W. Abbott (“Abbott” or the “Governor”)—who is the chief

executive officer of the State of Texas 2—called for this legislation on the pretextual grounds that

it was necessary to prevent voter fraud. But there is simply no evidence that voter fraud occurs in



2
  Tex. Const. Art. IV, § 1. Governor Abbott was a named defendant in the original Complaint.
(ECF No. 1). Plaintiffs’ decision to remove Governor Abbott as a defendant in the First Amended
Complaint was solely in an effort to narrow the issues before the Court and shall not be construed
as an admission that Governor Abbott is not a proper defendant for claims arising under the VRA
and the U.S. Constitution particularly where, as alleged here, Governor Abbott championed the
challenged laws (and indeed called for them to be made more stringent) and played a direct and
personal role in the administration of Texas elections via his authority to issue proclamations.
Plaintiffs expressly reserve the right to seek leave from this Court to further amend the operative
complaint in order to add back Governor Abbott as a defendant for claims asserted here in light of
the facts that will be developed during discovery.


                                                 4
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 5 of 91




Texas beyond the very few examples already identified through Texas’s pre-existing processes

and procedures. Indeed, as Texas Representative Diego Bernal testified before the Congressional

subcommittee on Civil Rights and Civil Liberties on July 29, 2021: “There [we]re 154 prosecutions

of voter fraud in the past 17 years in Texas out of 94 million votes cast. The likelihood of voter

fraud in Texas is less than any one of us being struck by lightning.” 3 Thus, the additional burdens

and restrictions on voting contained in SB1 are not, and cannot be, justified by invoking

unspecified and unproven voter fraud.

       4.      Rather, as described further below, SB1 is a reaction to Texas’s changing electorate,

which is now more racially diverse and younger than ever before. Indeed, minority voter turnout

in Texas in the 2018 mid-term election was dramatically higher than the 2014 mid-term, and

turnout in the 2020 General Election—even in the face of COVID-related challenges—was higher

than for any general election in the state since 1992. Local election officials and community

organizations throughout the State helped Texas voters fulfill their commitment to exercising their

rights. This effort—and the resulting success—merits universal praise. Instead, however, the

Texas Legislature responded to these community success stories by making baseless claims of

threats to “election integrity,” outlawing the very election procedures that made the 2020 election

a success, and imposing additional requirements that will make it even harder for Texans—

especially those in Texas’s growing minority populations—to participate in our democracy.

       5.      Each of SB1’s limitations described above and below violates federal law and will

cause irreparable harm to Plaintiffs and citizens of Texas more broadly. In particular, SB1’s new




3
  House Committee on Oversight & Reform, Democracy in Danger: The Assault on Voting Rights
in Texas (July 29, 2021) https://oversight.house.gov/legislation/hearings/democracy-in-danger-
the-assault-on-voting-rights-in-texas.


                                                 5
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 6 of 91




restrictions on voter assistance violate Sections 2 and 208 of the Voting Rights Act of 1965 4 and

the Americans with Disabilities Act. 5 SB1’s ill-defined prohibition on “vote harvesting” violates

both the First Amendment and the Fourteenth Amendment’s Due Process Clause because these

provisions criminalize protected speech and are unconstitutionally vague. The provisions on poll

watcher obstruction are similarly vague—putting poll workers at risk of arbitrary prosecution.

SB1’s restrictions on the exercise of the right to vote violate the First and Fourteenth Amendments

by unduly burdening voting rights and impermissibly limiting free speech of voter assistors.

Lastly, as set forth below, SB1 intentionally discriminates against Texas minority voters in

violation of the Fourteenth and Fifteenth Amendments and Section 2.

         6.      Plaintiffs respectfully request that the Court declare that the challenged provisions

of SB1 are unlawful and enjoin Defendants from enforcing the challenged provisions.

                              II.      JURISDICTION AND VENUE

         7.      This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) and (4) because

the claims in this action arise under federal law and seek to redress the deprivation of federal civil

rights, including the right to vote.

         8.      Venue is proper in this district under 28 U.S.C. § 1391(b) because all Defendants

reside in Texas, and Defendants perform their official duties in this district.




4
  52 U.S.C. §§ 10301 and 10508 (“Any voter who requires assistance to vote by reason of
blindness, disability, or inability to read or write may be given assistance by a person of the voter’s
choice.”).
5
    42 U.S.C. §§ 12131, et seq.

                                                   6
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 7 of 91




                                        III.    PARTIES

A.     Plaintiffs

       9.      Plaintiff LA UNIÓN DEL PUEBLO ENTERO (“LUPE”) is a non-partisan

membership organization founded by labor rights activists César Chávez and Dolores Huerta.

LUPE’s mission is to build strong, healthy communities in the Texas Rio Grande Valley through

community organizing and civic engagement. To promote civic engagement in the communities

it serves, LUPE conducts know-your-rights discussions and membership meetings, participates in

issue-focused advocacy, campaigns to support or oppose nonpartisan ballot measures through in-

person canvassing, connects its members to social services, conducts census outreach, and

conducts voter registration, education, and non-partisan get-out-the-vote campaigns (GOTV). As

part of their voter canvassing activities, LUPE members and paid staff interact with voters at the

voters’ homes, including in the physical presence of a ballot voted by mail.

       10.     LUPE’s individual members include registered voters who require assistance with

voting in-person at the polling place, voting by mail, and voting curbside, as well as individuals

who serve as assistors. LUPE is headquartered in San Juan, Texas, and its members primarily

reside in Hidalgo, Cameron, Willacy, and Starr Counties, Texas. LUPE has more than 8,000

members, including Latinos, U.S. citizens, and registered voters, some of whom are disabled.

These voter members have disabilities that limit major life activities, including disabilities that

limit their ability to walk, climb stairs, write or mark a ballot, interact with other people or

otherwise navigate the polling place and voting process. Some LUPE members are voters who are

limited English proficient. LUPE’s disabled voter members require accommodations in the voting

process that are prohibited by the challenged provisions of SB1. Some of LUPE’s voter members

who are disabled and/or limited English proficient rely on assistors to vote. LUPE has

organizational and associational standing to bring this lawsuit.

                                                 7
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 8 of 91




       11.     Plaintiff FRIENDSHIP-WEST BAPTIST CHURCH (“FRIENDSHIP-WEST”) is

a non-partisan religious organization in Dallas County that serves a predominantly Black

congregation of more than 12,000 members, a substantial number of whom are registered to vote

in Texas.     To promote democracy and voter engagement in the community it serves,

FRIENDSHIP-WEST serves as a polling place, provides voter education, and encourages its

congregants and others to register, to vote, and to serve as poll workers and volunteer deputy

registrars. FRIENDSHIP-WEST has organizational and associational standing to bring this

lawsuit.

       12.     Plaintiffs ANTI-DEFAMATION LEAGUE AUSTIN, SOUTHWEST, AND

TEXOMA REGIONS (“ADL”) are made up of the regional offices of the non-partisan Anti-

Defamation League in Texas. ADL has at least 23,000 supporters who are Texas residents, a

substantial number of whom are registered to vote in Texas. ADL also has approximately 250

regional board members throughout Texas, a substantial number of whom are registered to vote in

Texas. ADL’s mission in Texas, consistent with their national organization’s overall mandate, is

to protect the civil rights of all persons, eliminate vestiges of discrimination, racism, extremism,

and antisemitism within communities in Texas, and to fight hatred in all its forms. ADL has

organizational standing to bring this lawsuit.

       13.     Plaintiff SOUTHWEST VOTER REGISTRATION EDUCATION PROJECT

(“SVREP”) is a nonprofit and non-partisan organization committed to promoting and increasing

participation of Latino and other minority communities across the United States in the democratic

process through voter registration, voter education, and voter participation activities. In Texas,

SVREP conducts voter registration and organizes non-partisan get-out-the-vote drives to remind




                                                 8
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 9 of 91




voters of election dates and to inform them about requirements for voting.               SVREP has

organizational standing to bring this suit.

       14.     Plaintiff TEXAS IMPACT is a nonprofit, non-partisan, multi-denominational

organization working to put faith into action by equipping faith leaders and their congregations

with information, opportunities, and outreach tools to educate communities and engage with

lawmakers on pressing policy issues. TEXAS IMPACT is comprised of dozens of member

organizations, hundreds of member congregations, and more than 22,000 individual members who

span the partisan spectrum and represent different ethnicities and denominations.             TEXAS

IMPACT’s individual members include individuals who are registered to vote in Texas;

individuals who require assistance with voting in-person at the polling place, by mail, and

curbside; individuals who serve as assistors; and individuals who serve as poll workers and

volunteer deputy registrars. TEXAS IMPACT also has members that take positions on ballot

measures. To further its mission, TEXAS IMPACT works to ensure that all eligible Texans can

exercise their right to vote free from suppression. To advance that goal, TEXAS IMPACT and its

members (at all three levels: denominational bodies, congregations, and individuals) (a) assist

voters with registration and voting; (b) educate voters on their rights, including eligibility to vote,

eligibility to vote by mail, and polling place locations; and (c) encourage members and others to

volunteer as volunteer deputy registrars and poll workers. TEXAS IMPACT has organizational

and associational standing to bring this lawsuit.

       15.     Plaintiff MEXICAN AMERICAN BAR ASSOCIATION OF TEXAS (“MABA-

TX”) is a professional membership association of Latino lawyers located in Texas. MABA-TX is

a multi-purpose organization, and its goals include, among other goals: to provide a forum and a

means for lawyers to promote the social, economic and educational advancement of the people of



                                                    9
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 10 of 91




Texas; to speak on behalf of the Latino community on legal issues affecting the community; to

serve the Latino populace as a professional association by providing services, assistance and

advice on matters of legal concern to the community; to work through legislation, advocacy and

education to accomplish these goals; and to preserve high standards of integrity, honor and

professional courtesy among Latino lawyers. Members of MABA-TX include Latino registered

voters who live throughout the State of Texas, including in Travis, El Paso and Dallas counties.

MABA-TX has organizational and associational standing to bring this lawsuit.

        16.     Plaintiff TEXAS HISPANICS ORGANIZED FOR POLITICAL EDUCATION

(“TEXAS HOPE”) is a nonprofit, membership organization that seeks to empower Latinos in

Texas through civil engagement, civic education, and outreach. TEXAS HOPE’s activities include

helping register Latino citizens to vote, volunteering to take registered voters to the polls on

election days, serving as poll watchers, administering voter education workshops, and conducting

legislative advocacy on issues important to the Latino community including education, voting

rights, immigrants’ rights, healthcare, and housing. Members of TEXAS HOPE include Latino

registered voters who reside throughout Texas including in the following counties: Bell, Bexar,

Dallas, Denton, Ector, El Paso, Guadalupe, Harris, Lubbock, Tarrant, Tom Greene, Travis,

Victoria, Wharton, and Williamson. TEXAS HOPE has organizational and associational standing

to bring this lawsuit.

        17.     Plaintiff JOLT ACTION is a nonprofit, membership organization whose mission is

to increase the civic participation of Latinos in Texas to build a stronger democracy. JOLT

ACTION conducts and trains community members to conduct non-partisan voter registration and

voter mobilization, works to develop Latino youth leadership, promotes community and student

organizing, and supports cultural activities. JOLT ACTION is a membership organization whose



                                              10
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 11 of 91




members include Latino high school, community college, and university students, many of whom

are Latino registered voters. JOLT ACTION’s members and paid staff assist voters who are

disabled and/or limited English proficient. JOLT ACTION has organizational and associational

standing to bring this lawsuit.

       18.      Plaintiff WILLIAM C. VELASQUEZ INSTITUTE (“WCVI”) is a nonprofit and

non-partisan public policy analysis organization that conducts research and works in Latino

communities and with local leaders across Texas to increase Latino registration and voter turnout.

WCVI’s mission includes improving the level of political participation for all Latinos and other

underrepresented communities. WCVI analyzes and reports on Latino voter registration and

participation and uses its research to educate and collaborate with Latino community leaders to

increase Latino political participation. WCVI conducts its work through policy seminars, social

media campaigns and community workshops. WCVI has organizational standing to bring this

lawsuit.

       19.      Plaintiff FIEL Houston Inc. (“FIEL”) is a nonprofit, non-partisan membership

organization based in Houston, Texas. FIEL is an immigrant-led organization that advocates for

just laws for immigrant youth, their families, access to higher education for all people regardless

of immigration status, and access to justice for the Latino community. FIEL was born out of the

need for civic engagement in support of undocumented students seeking higher education and

conducts organizing for the betterment of the communities it serves, including voter registration

and civic education, phone-banking, census outreach, voter assistance, and other advocacy efforts.

FIEL has approximately 11,000 members in the greater Houston area, including Latinos, U.S.

citizens, and non-U.S. citizens. FIEL members reside in parts of Texas where communities of

color constitute significant portions of the population, including Harris County. FIEL’s individual



                                                11
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 12 of 91




members include Latino registered voters who require assistance with voting in-person at the

polling place and voting by mail, as well as individuals who serve as assistors.

Some FIEL members are voters who are limited English proficient. Some of FIEL’s voter

members who are limited English proficient rely on assistors to vote. FIEL has organizational

and associational standing to bring this lawsuit.

        20.     Plaintiff JAMES LEWIN is a Texas voter residing in Austin, Texas. Mr. Lewin

worked as a deputy election judge during the October 2020 early voting period. Mr. Lewin decided

to work at the polls because he observed well-intentioned poll workers giving voters incorrect

information in previous elections. Mr. Lewin wanted to ensure that polling places were staffed

with informed workers who could provide correct information and guidance so that eligible voters

could properly cast ballots that would count.

B.      Defendants

        21.     Defendant the STATE OF TEXAS is one of the United States of America.

        22.     Defendant JOHN B. SCOTT is the Secretary of State of Texas (the “Secretary”).

The Secretary is “the chief election officer of the state,” and the Texas Election Code “reflect[s]

the Legislature’s intent that election laws operate . . . under the direction and guidance of the

Secretary of State.” 6

        23.     Defendant Scott is a licensed attorney who previously served as lead attorney and

signed an amended complaint on behalf of the plaintiff in Donald J. Trump For President, Inc. et

al. v. Boockvar et al., No. 4:20-cv-02078-MWB (M.D. Pa.), ECF No. 125, which (among other

things) sued Pennsylvania’s Secretary of State and county boards of elections seeking “[a]n order,



6
 TEX. ELEC. CODE § 31.001; State of Texas v. Hollins, No. 20-0729, 2020 WL 5919729, at *5
(Tex. Oct. 7, 2020).


                                                    12
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 13 of 91




declaration, and/or injunction that prohibits the [county boards of elections and Pennsylvania’s

Secretary of State] from certifying the results of the 2020 General Election in Pennsylvania on a

Commonwealth-wide basis.” The amended complaint to which Defendant Scott was a signatory

alleged on behalf of the plaintiff (among other things) that “[a]s part of the November 3, 2020

General Election, there are at least two Counties that had suspected instances of mail-in ballot

fraud” and that “the disparate treatment between mail-in and in-person voters as to the verification

of the voter’s identity through signature verification has created an environment in Pennsylvania

that encourages ballot fraud or tampering . . . .” Id. “[L]ess than 24 hours before oral argument

was to begin, . . . Mr. Scott . . . requested this Court’s permission to withdraw from the litigation.”7

The amended complaint was dismissed with prejudice and without granting leave to amend. 8

          24.    Under the Texas Election Code, Defendant Scott shall “obtain and maintain

uniformity in the application, operation, and interpretation of [the] code and [other] election laws,”

“prepare detailed and comprehensive written directives and instructions” for “the appropriate state

and local authorities,” and “distribute these materials to the appropriate state and local authorities

having duties in the administration of these laws.” 9 The Secretary must also “assist and advise all

election authorities with regard to the application, operation, and interpretation” of election laws. 10

          25.    Under Section 31.005 of the Texas Election Code (titled “Protection of Voting

Rights; Enforcement”), the Secretary is authorized to “take appropriate action to protect” voting

rights “from abuse by the authorities administering the state’s electoral processes,” which includes



7
    Donald J. Trump for President, Inc. v. Boockvar, 502 F. Supp. 3d 899, 909 (M.D. Pa. 2020).
8
    Id.
9
    TEX. ELEC. CODE § 31.003.
10
     TEX. ELEC. CODE § 31.004.


                                                  13
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 14 of 91




“order[ing] the person to correct the offending conduct.” 11 If the person “fails to comply with an

order from the secretary of state under this section, the secretary may seek enforcement of the

order by a temporary restraining order or a writ of injunction or mandamus obtained through the

attorney general.” 12

           26.   Section 18.065 of the Texas Election Code requires the Secretary to “monitor each

registrar for substantial compliance” with sections of the Texas Election Code. 13 As described

further below, SB1 layers on civil penalties for a registrar’s failure to correct violations in the

amount of “$1,000 for each violation corrected by the secretary of state under that subsection.”14

Thus, the Secretary is directly involved in identifying violations and does, by correcting violations,

directly affect the amount of the new civil penalty for which the registrar becomes liable.

           27.   Texas election law requires the Secretary to “prescribe the design and content,

consistent with this code, of the forms necessary for the administration of this code other than

Title 15” such that the “design and content . . . enhance the ability of a person to understand the

applicable requirements and to physically furnish the required information in the space

provided.” 15 Among other things, the Secretary “shall design the form” for “registration by mail”

and “shall prescribe the procedures necessary to implement this section” regarding the official

form for registration by mail.” 16 The Secretary must also “maintain a supply of the official


11
  TEX. ELEC. CODE § 31.005(a)-(b); Tex. Democratic Party v. Abbott, 961 F.3d 389, 399 (5th
Cir. 2020).
12
     TEX. ELEC. CODE § 31.005(c).
13
     TEX. ELEC. CODE §18.065.
14
     Id.
15
     Hollins, 620 S.W.3d 408 (citing TEX. ELEC. CODE § 31.002(a)).
16
     TEX. ELEC. CODE § 13.121.


                                                 14
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 15 of 91




application forms for ballots to be voted by mail and shall furnish the forms in reasonable quantities

without charge to individuals or organizations requesting them for distribution to voters.” 17

           28.   As described further below, under SB1, “[t]he secretary of state shall prescribe the

form[s]” that must be completed and signed by persons providing assistance, including

transportation and translation assistance, to voters. 18

           29.   Section 34.004 of the Texas Election Code provides that “[t]he secretary of state or

a member of the secretary’s staff may make inspections in the same manner as state inspectors

whether or not a violation of election laws is suspected.” 19

           30.   Under Section 34.005 of the Texas Election Code, “[t]he secretary of state may

refer a reported violation of law for appropriate action to the attorney general, if the attorney

general has jurisdiction, or to a prosecuting attorney having jurisdiction.” 20

           31.   Under SB1, the Secretary is required to refer any and all “information indicating

that criminal conduct in connection with an election has occurred” that he “receive[s] or

discover[s]” to the Attorney General if the Secretary determines “that there is reasonable cause to

suspect that criminal conduct has occurred.” 21 The Secretary is further required to “deliver to the

attorney general all documents and information in the secretary’s possession.” 22 This gives the




17
     TEX. ELEC. CODE § 84.013.
18
     E.g., TEX. ELEC. CODE §§ 64.009(h), 64.0322(b).
19
     TEX. ELEC. CODE § 34.004.
20
     TEX. ELEC. CODE § 34.005.
21
     TEX. ELEC. CODE § 31.006(a).
22
     Id.


                                                  15
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 16 of 91




Secretary an active role in enforcing every provision of the Texas Election Code that may carry

criminal penalties, including those challenged in the instant Second Amended Complaint. 23

          32.    Under Section 32.115 of the Texas Election Code, “[o]n request of a county

executive committee or a county clerk, as appropriate, the secretary of state shall schedule and

provide assistance for the training of election judges and clerks under Section 32.113 or 32.114”

and “may provide similar training assistance to other political subdivisions.” 24

          33.    The Secretary’s website currently provides “Training and Education and

Resources,” including, among others, “Poll Worker Training”; “Volunteer Deputy Registrar

Training”; an “Election Inspector Handbook”; and “Election Official Training Materials.” 25

          34.    SB1 also provides that “[t]he secretary of state shall publish and maintain a training

manual for watchers and shall make the manual available on the secretary of state’s Internet

website.” 26 A “Poll Watcher’s Guide[sic]” is currently available on the Secretary’s website, but it

has not been updated since November 2019. 27

          35.    As described further below, SB1 further gives the Secretary full authority to

“prescribe any procedures necessary to implement” the sections of the Texas Election Code

sections governing the “signature verification committee.” 28




23
     E.g., TEX. ELEC. CODE §§ 15.028, 62.113, 33.051, 33.061, 64.034, 276.015, 276.016, 276.017.
24
     TEX. ELEC. CODE § 32.115.
25
     https://www.sos.texas.gov/elections/laws/education-resources.shtml.
26
     TEX. ELEC. CODE § 33.008.
27
     https://www.sos.texas.gov/elections/forms/pollwatchers-guide.pdf.
28
     TEX. ELEC. CODE §§ 87.0271(e).


                                                  16
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 17 of 91




          36.    Defendant WARREN K. (“Ken”) PAXTON is the Attorney General of Texas, the

state’s chief law enforcement officer. He is sued in his official capacity.

          37.    The Attorney General is Texas’ chief law enforcement officer, with a “freestanding

sovereign interest” in enforcing Texas law. 29

          38.    According to the Attorney General’s website, Defendant Paxton’s “role in

enforcing the election laws” includes “statewide investigation authority and concurrent

prosecution authority with local elected prosecutors over the election laws of the State” as well as

having “deep experience and specialized resources to help train or assist local law enforcement

and prosecution in working up complex and challenging election fraud cases.” 30 The Attorney

General’s website specifically notes that “Chapter 273, Texas Election Code, gives the OAG

authority to investigate and prosecute election code violations anywhere in Texas.” 31 The

Attorney General has prosecuted alleged violations of Texas’s election laws alongside, or instead

of, local district attorneys. 32 Defendant Paxton also claims his office is “currently prosecuting

over 500 felony election fraud offenses in Texas courts.” 33




29
     City of Austin v. Abbott, 385 F. Supp. 3d 537, 545 (W.D. Tex. Mar. 25, 2019).
30
  https://www.texasattorneygeneral.gov/initiatives/election-integrity (responding to question
“What is the Office of the Attorney General’s role in enforcing the elections laws?”).
31
 Id. (responding to question “How are election fraud cases referred to the Office of the Attorney
General?”).
32
    https://www.texasattorneygeneral.gov/news/releases/ag-paxton-announces-joint-prosecution-
gregg-county-organized-election-fraud-mail-balloting-scheme.
33
   See Press Release, Ken Paxton, Attorney General of Texas, AG Paxton Announces Formation
of       2021       Texas      Election     Integrity    Unit      (Oct.     18,     2021),
https://www.texasattorneygeneral.gov/news/releases/ag-paxton-announces-formation-2021-
texas-election-integrity-unit.


                                                 17
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 18 of 91




         39.    Although the Texas Court of Criminal Appeals recently held that Defendant Paxton

lacks constitutional authority to unilaterally prosecute criminal offenses created by the Election

Code, see State v. Stephens, --- S.W.3d ---, 2021 WL 5917198 (Tex. Crim. App. Dec. 15, 2021),

Defendant Paxton may still assist the prosecuting district or county attorney upon request, see id.

(citing Saldano v. State, 70 S.W.3d 873, 880 (Tex. Crim. App. 2002)); see also TEX. GOV’T CODE

§ 41.102. 34

         40.    Furthermore, Defendant Paxton is also charged with enforcing the civil provisions

of the Texas Election Code, including Section 8.01 of SB 1, codified at Texas Election Code

Section 31.129.

         41.    Defendant Paxton has also recently filed suit on behalf of the State of Texas to

enforce provisions of the Texas Election Code and to restrict the actions of a local election official,

including by preventing him from mailing out mail ballot applications to many eligible voters

unless those voters first submitted a request. 35

         42.    As described further below, Defendant Paxton has stated that prosecution of

election-related offenses is one of his priorities.      For example, Defendant Paxton recently

announced the formation of his “2021 Texas Election Integrity Unit,” which he describes as a

concentrated effort to devote agency lawyers, investigators, support staff, and resources to




34
   In the State Defendants’ Motion to Dismiss the First Amended Complaint, they admit that the
State of Texas and the Attorney General believe that Stephens was “wrongly decided” and “has
filed a motion asking the Texas Court of Criminal Appeals to reconsider its decision.” State Defs.’
Mtn. to Dismiss the LUPE Plaintiffs’ First Am. Compl. (ECF No. 176) at 1 n.2.
35
     Hollins, 2020 WL 5919729, at *5.


                                                    18
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 19 of 91




ensuring this local election season . . . is run transparently and securely.” 36 In fact, in the press

release announcing the formation of his “2021 Election Integrity Unit,” Defendant Paxton refers

to himself as a “national leader in election integrity,” brags about the “many elections

administrators” that have been “held accountable for attempts to bend or break the boundaries of

lawful practices” under his leadership, and claims his office is “currently prosecuting over 500

felony election fraud offenses in Texas courts.” 37

           43.   Defendant MICHAEL SCARPELLO is the Elections Administrator of Dallas

County. He is sued in his official capacity.

           44.   Defendant LISA WISE is the Elections Administrator of El Paso County. She is

sued in her official capacity.

           45.   “In general, local election officials administer Texas elections. They receive and

review ballot applications, Tex. Elec. Code § 86.001, mail carrier and ballot envelopes to voters,

id. § 86.002, receive and process marked ballots, id. §§ 86.006, 86.007(b), 86.011, verify voter

signatures, id. § 87.027(i), and count the results, id. § 87.061.” 38

           46.   Under Section 31.043 of the Texas Election Code, “[t]he county elections

administrator shall perform: (1) the duties and functions of the voter registrar; (2) the duties and

functions placed on the county clerk by this code; (3) the duties and functions relating to elections




36
  OFFICE OF THE ATTORNEY GENERAL, AG Paxton Announces Formation of 2021 Texas Election
Integrity Unit (Oct. 18, 2021), https://www.texasattorneygeneral.gov/news/releases/ag-paxton-
announces-formation-2021-texas-election-integrity-unit.
37
     Id.
38
   State Defs.’ Mtn. to Dismiss the LUPE Plaintiffs’ First Am. Compl. (ECF No. 176) at 23
(identifying local election officials as the administrators of elections properly subject to suit).


                                                  19
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 20 of 91




that are placed on the county clerk by statutes outside this code, subject to Section 31.044; and (4)

the duties and functions placed on the administrator under Sections 31.044 and 31.045.” 39

         47.    Under Section 83.002 of the Texas Election Code, “[t]he county clerk is the early

voting clerk for the county in: (1) the general election for state and county officers and any other

countywide election held at county expense; (2) a primary election; and (3) a special election

ordered by the governor.” 40

         48.    Defendant JOHN CREUZOT is the Dallas County District Attorney.                He is

authorized to investigate and prosecute violations of the Texas Election Code in Dallas County.

He is sued in his official capacity.

         49.    Defendant YVONNE ROSALES is the El Paso County District Attorney. She is

authorized to investigate and prosecute violations of the Texas Election Code in El Paso County.

She is sued in her official capacity.

         50.    Defendant JOSÉ GARZA is the Travis County District Attorney. He is authorized

to investigate and prosecute violations of the Texas Election Code in Travis County. He is sued

is his official capacity.

         51.    Under the Texas Election Code, Defendants Scarpello, Wise, Creuzot, Rosales, and

Garza are responsible for implementing and enforcing a number of SB1’s challenged provisions

in their respective counties, including the new law’s restrictions on voter assistance, SB1 §§

6.01(f), 6.01(g), 6.03(b), 6.04, 6.05(e), and 6.06(c), and the “vote harvesting” provision, id. §

7.04(h). 41


39
     TEX. ELEC. CODE § 31.043.
40
     TEX. ELEC. CODE § 83.002.
41
     TEX. ELEC. CODE §§ 64.009, 64.0322, 64.034, 86.010, and 86.0105.


                                                 20
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 21 of 91




          52.    Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza are

charged with enforcing and will enforce the provisions of SB1 challenged here.

                                  IV.     FACT BACKGROUND

A.        Texas law has long restricted Latino and Black citizens’ right to vote.

          53.    SB1 is the latest chapter in Texas’s “long, well-documented history of

discrimination” against Latino and Black citizens in the voting and electoral processes. 42

          54.    From as early as 1845, the year Texas gained its statehood, the government has

suppressed Latinos’ political participation. Laws prohibited Texans from using the Spanish

language and Mexican-Americans from serving as election judges.

          55.    Texas continued to formally disenfranchise Latino and Black citizens throughout

the 19th and 20th centuries. In 1902, Texas voters approved a constitutional amendment requiring

poll taxes, the “primary purpose” of which was a “desire to disenfranchise the Negro and the poor

white supporters of the Populist Party.” 43 The poll tax also disenfranchised Latino citizens, many

of whom could not afford it. Texas maintained a poll tax until the Supreme Court found such taxes

unconstitutional in 1966. 44

          56.    In the late 19th and early 20th centuries, the Texas Legislature expanded poll

watchers’ power to challenge voters (without any requirement of substantiating evidence), which

facilitated discriminatory and abusive challenges to voter eligibility in an apparent attempt to

disenfranchise voters of color. 45 Among other restrictions, the law included notorious Terrell


42
  League of United Latin Am. Citizens v. Perry, 548 U.S. 399 (2006) (quoting Vera v. Richards,
861 F.Supp. 1304, 1317 (S.D. Tex. 1994).
43
     United States v. Texas, 252 F. Supp. 234, 245 (W.D. Tex. 1966).
44
     See Harper v. Virginia State Bd. of Elections, 383 U.S. 663 (1966).
45
    NICOLAS RILEY, BRENNAN CTR. FOR JUSTICE, VOTER CHALLENGERS 9–10 (2012),
https://www.brennancenter.org/our-work/research-reports/voter-challengers.

                                                 21
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 22 of 91




election laws, which included a poll tax and provisions giving rise to “white primaries” 46 that also

served to disenfranchise Black and Latino voters. One Texas newspaper declared that the white

primary “absolutely eliminates the Mexican vote as a factor in nominating county candidates,

though we graciously grant the Mexican the privilege of voting for them afterwards.” 47 This law

remained in effect in some form until its 2003 repeal. 48

          57.      In the early 20th century, Texas Rangers actively discouraged Latinos from voting

by selectively investigating them and scaring would-be voters by suggesting they would be

imprisoned for voting if illiterate. The mere presence of armed Rangers at polling stations

understandably intimidated Latino voters.

          58.      In the early 20th century, on multiple occasions, mobs gathered at polling places to

prevent Latinos from voting. In one such incident, the so-called “Good Government League”

assaulted the Weslaco barrio election box, and the crowd reportedly shouted, “Don’t let those

Mexicans in to vote. Throw them out.” Latino participation decreased as a result.

          59.      In recent years, federal courts have overturned another insidious form of voting

discrimination in Texas in the form of redistricting efforts. In 2006, the U.S. Supreme Court

invalidated Texas’s 2003 congressional redistricting plan, ruling the plan “b[ore] the mark of

intentional discrimination” against Latinos. 49 In 2012, a federal court held Texas acted with



46
     Id. at 10, n. 75.
47
     DAVID MONTEJANO, ANGLOS AND MEXICANS IN THE MAKING OF TEXAS 1836–1986 144 (1986).
48
     Id. at 17.
49
   League of United Latin American Citizens v. Perry, 548 U.S. 399, 440 (2006). In its reasoning,
the Supreme Court noted that Texas “took away [] Latinos’ [electoral] opportunity because Latinos
were about to exercise it . . . The State not only made fruitless the Latinos’ mobilization efforts but
also acted against those Latinos who were becoming most politically active.” Id. Texas thus
“undermined the progress of a racial group that has been subject to significant voting-related
discrimination and that was becoming increasingly politically active and cohesive.” Id. at 439.


                                                    22
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 23 of 91




discriminatory purpose or effect and denied preclearance to the state’s 2011 state legislative and

congressional maps under Section 5 of the VRA. 50 A second federal court also concluded that

Texas intentionally discriminated against Latino and Black voters with its 2011 congressional and

state legislative plans in violation of the VRA and the U.S. Constitution.51

          60.    In addition to discriminatory redistricting, Texas has adopted other illegal measures

to suppress minority participation in elections. In 2016, the Fifth Circuit affirmed a district court’s

decision that Texas’s photo voter identification law, S.B. 14, had a discriminatory effect on Latino

and Black Texans’ rights in violation of Section 2 of the VRA. 52 The district court observed:

                 [S.B.] 14’s voter I.D. requirements interact with social and historical
                 conditions in Texas to cause an inequality in the electoral
                 opportunities enjoyed by African-Americans and Hispanic voters as
                 compared to Anglo voters. In other words, [S.B.] 14 does not
                 disproportionately impact African-Americans and Hispanics by
                 mere chance. Rather, it does so by its interaction with the vestiges
                 of past and current racial discrimination. 53

As a result of this litigation, the Texas Legislature later replaced S.B. 14. 54 Although that new law

has survived legal challenge, this does not erase the judgment of the Court of Appeals that the

Texas Legislature adopted measures that had a discriminatory effect on Texans of color, in

violation of federal voting-rights laws. 55

          61.    In 2019, Secretary of State David Whitley attempted to purge Texas’s voter rolls

by falsely alleging that nearly 100,000 “non-U.S. citizens” were illegally registered to vote. In



50
     Texas v. United States, 887 F.Supp.2d 133 (D.D.C. 2012).
51
     Perez v. Abbott, 390 F. Supp. 3d 803, 816 (W.D. Tex. 2019).
52
     Veasey v. Abbott, 830 F.3d 216, 265 (5th Cir. 2016).
53
     Veasey v. Perry, 71 F.Supp.3d 627, 698 (S.D. Tex. 2014) (emphasis added).
54
     See Veasey v. Abbott, 888 F.3d 792, 797 (5th Cir. 2018).
55
     See id.

                                                   23
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 24 of 91




fact, many of these alleged “non-U.S. citizens” were Latino naturalized U.S. citizens properly

registered to vote. The data underpinning the proposed voter purge, however, did not show voters’

current citizenship status, which the Secretary of State knew before attempting to remove 100,000

eligible voters from the voter rolls. 56 A federal district court enjoined the purge, but not before

counties sent “ham-handed and threatening correspondence from the state which did not politely

ask for information but rather exemplifie[d] the power of government to strike fear and anxiety

and to intimidate the least powerful among us.” 57

A.         Before SB1, Texas was already among the states that made it hardest to vote.

           62.   Texas voting procedures are among the most onerous in the country. 58 For

example, Texas has “reduced the number of polling stations in some parts of the state by more

than 50% and has the most restrictive pre-registration law in the country.” 59

           63.   Although most states allow voting by mail without some special showing, 60 Texas

reserves mail voting only for individuals who (a) are 65 or older; (b) are sick or disabled; (c) will

be out of the county during the entire election period (early voting and election day); or (d) are

confined to jail but otherwise eligible to vote. 61



56
  Alexa Ura, Texas Will End Its Botched Voter Citizenship Review and Rescind Its List of Flagged
Voters, THE TEXAS TRIBUNE (April 26, 2019), https://www.texastribune.org/2019/04/26/texas-
voting-rights-groups-win-settlement-secretary-of-state/.
57
  Texas League of United Latin Am. Citizens v. Whitley, No. SA-19-CA-074-FB, 2019 WL
7938511, at *1 (W.D. Tex. Feb. 27, 2019).
58
  Ross Ramsey, Analysis: It’s harder to vote in Texas than in any other state, THE TEXAS TRIBUNE
(Oct. 19, 2020), https://www.texastribune.org/2020/10/19/texas-voting-elections/.
59
     Id.
60
   NATIONAL CONFERENCE OF STATE LEGISLATURES, VOPP: Table 1: States with No-Excuse
Absentee Voting (May 1, 2021), https://www.ncsl.org/research/elections-and-campaigns/vopp-
table-1-states-with-no-excuse-absentee-voting.aspx.
61
     TEX. ELEC. CODE §§ 82.001–82.004 (2020).

                                                      24
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 25 of 91




       64.     Unsurprisingly, Texas’s election laws yield one of the nation’s lowest voter turnout

rates; the state’s turnout rate trailed the national average in 2016, 2018, and 2020 (even after

factoring in the state’s relative successes in 2018 and 2020 described below). 62

B.     The 2020 General Election tested Texas voters in unprecedented ways—and Texans
       passed with flying colors.

       65.     Leading up to the 2020 General Election, Texas voters began to increase their

turnout dramatically.   In the 2018 mid-term election, Texas voter turnout increased by 18

percentage points compared with the previous midterms. Texas Latinos increased their vote share

by about five percentage points—from 14.4% to 19.1% of all votes cast (compared to the 2014

midterm election). As a result, Texas Latinos cast 922,146 more votes in the 2018 General

Election than the 2014 General Election.

       66.     In the 2020 election, Texas again achieved record voter turnout, with Texans

casting 11,315,056 total votes in the 2020 general election 63 in spite of the COVID-19 pandemic

that has killed tens of thousands in the state. A total of 66.73% of Texas’s registered voters cast

ballots—the highest voter turnout for any election since 1992 and more than 7% higher than

Texans’ 2016 General Election turnout. 64




62
  U.S. CENSUS BUREAU, Voting and Registration in the Election of November 2016 (May 2017),
Table 4b, https://www.census.gov/data/tables/time-series/demo/voting-and-registration/p20-
580.html; U.S. CENSUS BUREAU, Voting and Registration in the Election of November 2018 (April
2019),       Table     4b,     https://www.census.gov/data/tables/time-series/demo/voting-and-
registration/p20-583.html; U.S. CENSUS BUREAU, Voting and Registration in the Election of
November 2020 (April 2021), Table 4b, https://www.census.gov/data/tables/time-
series/demo/voting-and-registration/p20-585.html.
63
   TEX. SEC’Y OF STATE, Texas Election Results: 2020 November 3rd General Election,
https://results.texas-election.com/races (last visited Sep. 1, 2021).
64
     TEX.    SEC’Y     OF     STATE,      Turnout     and      Voter      Registration    Figures,
https://www.sos.texas.gov/elections/historical/70-92.shtml (last visited Sep. 1, 2021).

                                                25
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 26 of 91




        67.     In the 2020 election officials and poll workers faced unprecedented obstacles as

well as new threats to their health and safety. Not only were they tasked with operating polling

places during a pandemic, but they also faced threats and harassment from members of the public

spurred on by conspiracy theories. 65 These threats were particularly unsettling to communities of

color. In the face of these threats, Texas election officials struggled to find enough poll workers

to do the job in 2020. 66

        68.     In 2020, the Latino turnout rate jumped to 56.45%; Latino votes constituted more

than one-fifth of all votes cast in the 2020 General Election. According to Census estimates,

turnout among Asian-American voters increased by 15% and turnout among Black voters in Texas

increased by more than 10%.

        69.     The strong 2020 voter turnout was due in part to efforts by public officials

throughout the State of Texas to make voting more accessible.            Community-based civic

engagement and faith-based groups such as Plaintiff organizations also played a role in educating

voters and encouraging them to cast lawful ballots.

        70.     In May 2020, Secretary of State Ruth Hughes released a checklist of health

protocols for voters and election officials. 67 For voters, the guidance suggested maintaining six




65
   See, e.g., Michael Wines, Here Are the Threats Terrorizing Election Workers, N.Y. TIMES (Dec.
3, 2020), https://www.nytimes.com/2020/12/03/us/election-officials-threats-trump.html.
66
  John Engel, Central Texas Election Officials Confront Nationwide Shortage of Poll Workers,
KXAN (Sep. 11, 2020), https://www.kxan.com/news/your-local-election-hq/central-texas-
election-officials-confront-nationwide-shortage-of-poll-workers/.
67
        TEX.      SEC’Y       OF       STATE,      Health       Protocols       for      voters,
https://www.sos.texas.gov/elections/forms/health-protocols-for-voters.pdf (last visited Sept. 2,
2021).


                                                26
            Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 27 of 91




feet of distance where possible and recommended that voters exhibiting symptoms of COVID-19

“consider utilizing curbside voting” if they met eligibility requirements. 68

           71.     The guidance also referenced the right of voters to rely on the aid of voting

assistants (including interpreters). 69

           72.     On July 27, 2020, Governor Abbott issued a proclamation extending the early

voting period in light of the COVID-19 pandemic and suspending the restriction in Texas Election

Code § 86.006 that only allowed in-person delivery of ballots on Election Day. 70

           73.     Local election officials across the state developed creative ways to make traditional

voting methods more accessible, including extended voting hours and additional mail ballot drop-

off locations.

           74.     Some large counties, including Harris and Bexar counties, extended voting hours

at in-person polling locations. Harris County implemented 24-hour voting for one night during

the early voting period. 71 Bexar County kept polling places open until 10:00 p.m. for several days

during the early voting period to accommodate additional voters. 72 Certain counties also

encouraged eligible voters to apply for mail ballots and to do so early.



68
     Id. at 2.
69
     Id. at 3, 7
70
  OFFICE OF THE TEX. GOVERNOR, Governor Abbott Issues Proclamation Extending Early Voting
Period for November 3rd Election (Jul. 27, 2020), https://gov.texas.gov/news/post/governor-
abbott-issues-proclamation-extending-early-voting-period-for-november-3rd-election.
71
   Alexa Ura, Here’s How Texas Elections Would Change, and Become More Restrictive, Under
the Bill Texas Republicans are Pushing, TEX. TRIB. (Apr. 21, 2021),
https://www.texastribune.org/2021/04/21/texas-voting-restrictions-senate-bill-7/.
72
  David Lynch, Bexar County’s Early Voting Locations Staying Open Later this Week, KENS5
(Oct. 27, 2020), https://www.kens5.com/article/news/politics/elections/bexar-countys-early-
voting-locations-staying-open-later-this-week/273-c7e85454-46c8-4d7b-a048-85f306fc8281.


                                                    27
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 28 of 91




        75.     In addition to expanding traditional in-person and mail-in voting, election officials

in some counties created new, safe ways to vote. Harris County, for example, opened drive-thru

voting sites, which were used by almost 127,000 early voters in the county. 73

        76.     Texas voters also sought mail ballots in record numbers. For example, the Travis

County Clerk’s office received requests from 65,678 people before September 30, 2020. By

comparison, only 27,000 mail ballots were mailed out in the 2016 election. 74

        77.     However, as voters sought to protect their health during the pandemic by voting by

mail, Governor Abbott and Defendant Attorney General Paxton responded by imposing obstacles

that limited exercise of the franchise. For instance, Governor Abbott issued a proclamation on

October 1, 2020, that arbitrarily limited mail ballot drop-off locations to one per county regardless

of physical size or population. 75 Attorney General Paxton filed suit against the Harris County

Clerk to prevent him from mailing out mail ballot applications to many eligible voters unless those

voters first submitted a request. 76




73
  Ten percent (10%) of Harris County’s in-person early voters (approximately 127,000 voters)
took advantage of drive-thru voting. Jolie McCullough, Nearly 127,000 Harris County Drive-Thru
Votes Appear Safe after Federal Judge Rejects GOP-Led Texas Lawsuit, TEX. TRIB. (Nov. 2,
2020), https://www.texastribune.org/2020/11/02/texas-drive-thru-votes-harris-county/.
74
  Russell Falcon, Travis County Voters can Request a Mail Ballot until Oct. 23, KXAN (Sept. 30,
2020), https://www.kxan.com/news/your-local-election-hq/travis-county-voters-can-request-a-
mail-in-ballot-until-oct-23/.
75
  OFFICE OF THE TEX. GOVERNOR, Governor Abbott Issues Proclamation Enhancing Ballot
Security (Oct. 1, 2020), https://gov.texas.gov/news/post/governor-abbott-issues-proclamation-
enhancing-ballot-security.
76
  OFFICE OF THE ATTORNEY GENERAL OF TEX., AG Paxton Sues Harris County Clerk to Prevent
Him from Unlawfully Sending Out Millions of Unsolicited Mail-In Ballot Applications (Aug. 31,
2020), https://www.texasattorneygeneral.gov/news/releases/ag-paxton-sues-harris-county-clerk-
prevent-him-unlawfully-sending-out-millions-unsolicited-mail.


                                                 28
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 29 of 91




C.        Following a historically successful election, some Texas politicians made baseless
          allegations of cheating.

          78.     By official accounts, Texas’s 2020 General Election was a resounding success. The

Texas Secretary of State’s office reassured the public that Texas had a “smooth and secure”

election in 2020. 77

          79.     Governor Abbott nonetheless announced that “election integrity” would be an

“emergency item” for the Texas Legislature’s 2021 term, claiming that “[i]n the 2020 election, we

witnessed actions throughout our state that could risk the integrity of our elections and enable voter

fraud.” 78 But Governor Abbott has struggled to identify examples of such actions or to identify

people who witnessed them. 79

          80.     Tellingly, there were only 23 total voter fraud complaints filed in Texas in 2020.80

And, although Attorney General Paxton’s office has spent 22,000 staff hours investigating voter

fraud in the 2020 Election, he has identified only 16 minor offenses out of more than 11,000,000




77
     Goldenstein et al., supra note 1.
78
   OFFICE OF THE TEX. GOVERNOR, Governor Abbot Delivers 2021 State of the State Address, (Feb.
1,    2021),    https://gov.texas.gov/news/post/governor-abbott-delivers-2021-state-of-the-state-
address; OFFICE OF THE TEX. GOVERNOR, Governor Abbott Holds Press Conference on Election
Integrity Legislation, (Mar. 15, 2021), https://gov.texas.gov/news/post/governor-abbott-holds-
press-conference-on-election-integrity-legislation.
79
   Alexa Ura, Gov. Greg Abbott Formally Opens Texas GOP Bid to Clamp Down on Local Efforts
Expanding        Voter       Access,       TEX.       TRIB.        (Mar. 15,       2021),
https://www.texastribune.org/2021/03/15/texas-voting-greg-abbott/.
80
   Jeremy Rogalski, Despite National Outcry, Texas Received Relatively Few Voting Fraud
Reports        this        Election,        KHOU-11            (Nov.         20,        2020),
https://www.khou.com/article/news/investigations/texas-received-few-voting-fraud-reports/285-
deec7c9a-581b-42b1-b430-4cae7aef5f26.

                                                   29
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 30 of 91




ballots cast. 81 That means about 99.999% of ballots were cast untainted by so much as an

allegation—let alone any proof—of fraud.

       81.     There is no evidence of widespread voter fraud in the 2020 election (or other

elections in Texas for that matter). Nor is there evidence that there is a substantial risk of fraud in

future elections that Texas’s already-restrictive voting laws did not previously address.

D.     The Texas Legislature takes up anti-voter legislation.

       82.     Against this backdrop of a successful and untainted election in Texas, the Texas

Legislature began its determined effort to restrict voting in the name of “election integrity.” 82

       83.     On March 11, 2021, Texas Senator Bryan Hughes introduced Senate Bill 7 (“SB7”)

in the Texas Legislature as a sweeping so-called “voting integrity” bill. Although SB7 ultimately

did not succeed, SB1 contains many of the same restrictions designed to intimidate and discourage

Texas voters and, in particular, Texas’s minority voters.

       84.     SB1 (also introduced by Senator Hughes) was heard before the Senate State Affairs

Committee on August 9, 2021, and voted out of committee that same day. SB1 passed the Senate

in the early morning of August 12, 2021 on a party-line vote, following a 15-hour filibuster by

Senator Carol Alvarado.

       85.     SB1 was heard before the House Select Committee on Constitutional Rights and

Remedies on August 23, 2021. During the hearing, the Committee Chair permitted two witnesses



81
   Taylor Goldenstein, Fact Checking Texas Lawmaker’s Claim of 400 Voter Fraud ‘Cases’,
HOUSTON CHRONICLE (Apr. 12, 2021), https://www.houstonchronicle.com/politics/texas/article/
Fact-checking-Texas-lawmaker-s-claim-of-400-16095858.php.
82
   See HERITAGE ACTION FOR AMERICA, Heritage Action Launches Election Integrity Campaign,
Commits Over $10 Million (Mar. 8, 2021), https://heritageaction.com/press/heritage-action-
launches-election-integrity-campaign-commits-over-10-million; HERITAGE FOUNDATION, The
Facts About Election Integrity and the Need for States to Fix Their Election Systems (Feb. 1, 2021),
https://www.heritage.org/election-integrity-facts.

                                                  30
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 31 of 91




to testify virtually in favor of the bill without calling a vote to authorize virtual testimony or

alerting the public that such testimony would be permitted. At that time Texas was facing a surge

of COVID-19 cases which discouraged in-person public participation in the hearing.                 The

Committee passed SB1 that same day.

        86.     The House debated SB1 on August 26, 2021, and adopted seventeen amendments

to the bill.

        87.     The House passed SB1 on August 27, 2021.

        88.     The House and Senate convened a conference committee, which issued its report

to each chamber on August 30, 2021.

        89.     The Senate and the House both passed the SB1 conference committee report on

August 31, 2021, and the Legislature sent SB1 to the Governor for his signature on September 1,

2021.

        90.     After the Legislature passed SB1, the Governor publicly stated that “[p]rotecting

the integrity of our elections is critical in the state of Texas, which is why I made election integrity

an emergency item during the 87th Legislative Session.” 83

        91.     The Governor signed SB1 into law on September 7, 2021.

        92.     SB1 went into effect on December 2, 2021.

        93.     The next “Uniform Election Date” in the State of Texas is scheduled for

November 8, 2022.




83
  OFFICE OF THE TEX. GOVERNOR, Governor Abbott Statement On Passage Of Election Integrity
Legislation (Aug. 31, 2021), https://gov.texas.gov/news/post/governor-abbott-statement-on-
passage-of-election-integrity-legislation.


                                                  31
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 32 of 91




E.         State officials, including the Secretary, commence a “forensic audit” of Texas
           elections.

           94.    On September 23, 2021, the Secretary announced a “[f]ull [f]orensic [a]udit of 2020

General Election in [f]our [c]ounties.” 84 The news release stated that “[u]nder existing Texas laws,

the Secretary of State has the authority to conduct a full and comprehensive forensic audit of any

election and has already begun the process in Texas’ two largest Democrat counties and two largest

Republican counties—Dallas, Harris, Tarrant, and Collin—for the 2020 election.” 85

           95.    According to materials available on the Secretary’s website, part of the audit

process includes “identif[ying] potential non-U.S. citizen voters” and “direct[ing] county voter

registrars to take action to verify the eligibility of registered voters and cancel their registration if

they do not present proof of eligibility.” 86 Moreover, “[o]nce that action has been taken,” the

Secretary’s office “evaluates the persons cancelled and refers any instances of possible illegal

voting to the Office of the Texas Attorney General for investigation (Sec. 31.006).” 87

           96.    The forensic audit will also include an examination of, among many other things,

“Signature Verification Committee Materials.” 88




84
     https://www.sos.state.tx.us/about/newsreleases/2021/092321.shtml
85
     Id.
86
     https://www.sos.state.tx.us/about/forms/9-28-21-forensic-audit-summary.pdf.
87
     Id.
88
     Id.


                                                   32
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 33 of 91




         97.    On November 19, 2021, Governor Abbott approved transferring $4 million in

funding from Texas’s state budget to the Secretary’s office to establish an entirely “new Election

Audit Division” tasked with “conducting comprehensive forensic audits in the State of Texas.” 89

F.       State officials, including the Attorney General, support increased criminal penalties
         for so-called “illegal voting.”

         98.    Still without any evidence of widespread voter fraud in the State of Texas, on

September 30, 2021, Governor Abbott sent a letter to the Secretary of the Texas Senate calling for

“[l]egislation increasing the penalties for illegal voting that were reduced in Senate Bill No. 1 that

passed in the 87th Legislature, Second Called Session.” 90 In a September 30, 2021 press release,

Governor Abbott praised the “tremendous progress” made by the State of Texas “in upholding the

integrity of our elections,” and stated that, “[b]y increasing penalties for illegal voting, we will

send an even clearer message that voter fraud will not be tolerated in Texas.” 91

         99.    According to Lieutenant Governor Dan Patrick, the amendment lowering the

criminal classification from a second degree felony to a Class A misdemeanor was “added last

minute” by the House “& went under the radar until Gov., @TXAG & I found it & agreed then it

must be corrected. The Senate will pass next week.” 92




89
      https://gov.texas.gov/news/post/governor-abbott-approves-funding-to-launch-election-audit-
division-within-texas-secretary-of-states-office;  https://www.ktsa.com/gov-abbott-establishes-
election-audit-division/.
90

https://gov.texas.gov/uploads/files/press/MESSAGE_3rd_called_87th_adding_matter_to_call_I
MAGE_09-30-21.pdf.
91
   https://gov.texas.gov/news/post/governor-abbott-adds-illegal-voting-penalty-increase-to-third-
special-session-agenda; see also Greg Abbott (@GregAbbott_TX), TWITTER (Sept. 30, 2021, 6:46
PM EST).
92
     Dan Patrick @DanPatrick, TWITTER (Sept. 30, 2021, 6:21 PM EST).


                                                 33
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 34 of 91




         100.    These sentiments by the Governor and Lieutenant Governor were echoed by

Defendant Paxton, who tweeted that it was “[a]n outstanding decision to demand increased

penalties for vote fraudsters . . . . I will continue to muster all my resources to defend election

integrity!” 93

         101.    On October 4, 2021, the Texas Senate’s State Affairs Committee heard testimony

from certain supporters and opponents of increasing criminal penalties for illegal voting and the

Senate ultimately passed Senate Bill 10 (“SB10”). SB10 would have increased the penalty for

illegal voting from a Class A misdemeanor to a second degree felony.

G.       SB1 imposes burdens that will discourage, intimidate and deter eligible Texas
         voters, and will disproportionately impact voters of color and voters with
         disabilities.

         102.    The Texas Legislature’s claims of voter fraud and voter integrity are merely

pretexts for their actual purpose in enacting SB1, which is to make it harder for citizens of color

and citizens with disabilities to cast their votes. SB1 intentionally discriminates on the basis of

race and national origin and is consistent with Texas’ longstanding efforts to discriminate against

citizens of color in Texas.

         1.      SB1 restricts the ability of eligible Texans, including voters who have limited
                 English proficiency, disabilities, and less formal education, to access voter
                 assistance.

         103.    As Representative Bernal testified before Congress, “[t]here are no cases of voter

fraud relating to voter assistance.” 94




93
     Ken Paxton (@KenPaxtonTX), TWITTER (Oct. 1, 2021, 11:34 PM EST).
94
  HOUSE COMMITTEE ON OVERSIGHT & REFORM, Democracy in Danger: The Assault on Voting
Rights in Texas (July 29, 2021), https://oversight.house.gov/legislation/hearings/democracy-in-
danger-the-assault-on-voting-rights-in-texas.


                                                 34
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 35 of 91




         104.   SB1 nonetheless targets eligible voters who vote with assistance, including voters

who have limited English proficiency, disabilities, and/or less formal education. The law’s

restrictions on voter assistance will deprive many voters of their right to choose their assistors,

which will discourage and ultimately depress voter participation and have a particularly negative

impact on Latino and Asian American voters. Section 6.04 of SB1 also limits the type of assistance

that a voter can receive to “reading the ballot to the voter, directing the voter to read the ballot,

marking the voter’s ballot, or directing the voter to mark the ballot.” 95 As a result, many eligible

voters will not receive the assistance to which they are entitled, which will impede their ability to

vote or result in avoidable error on their ballots. In addition, individuals who assist voters will be

deterred and prevented from providing assistance by the new restrictions and penalties in SB1.

         105.   According to data collected pursuant to Section 203 of the Voting Rights Act,96

more than 277,000 voting-age U.S. citizens with limited English proficiency live in a Texas county

that is not required to provide materials in their primary language.             These citizens are

disproportionately Asian American and Latino.

         106.   The Centers for Disease Control and Prevention estimates that 28% of adults in

Texas have a disability. 97 These Texans are disproportionately Black, representing more than 21%

of all Texans with a disability, but only 13% of the overall population.

         107.   SB1 imposes at least four new restrictions on assistance for voters.




95
  S.B. 1 § 7.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE §
64.034).
96
     52 U.S.C. § 10503.
97
  Centers for Disease Control and Prevention, Disability and Health U.S. State Profile Data for
Texas, last updated June 28, 2021, https://www.cdc.gov/ncbddd/disabilityandhealth/impacts/
texas.html.

                                                 35
            Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 36 of 91




            108.   First, SB1 alters the oath that an assistor must take before providing assistance to a

voter. The revised language is both more onerous and more intimidating.

            109.   Under Section 6.04 of SB1, an assistor must now swear that the voter “represented

to [them] they are eligible to receive assistance.” 98 This effectively requires the assistor to obtain

from the voter a statement of eligibility for voter assistance. Because one’s eligibility for voter

assistance necessarily turns on personal and/or medical background and information, this

requirement will invade the privacy of and deter voters who need assistance. It will further deter

individuals from serving as assistors out of fear of criminal prosecution for failing to secure the

appropriate “representation” of eligibility from voters.

            110.   The assistor’s oath must be made “under penalty of perjury” and the assistor must

swear “I understand that if assistance is provided to a voter who is not eligible for assistance, the

voter’s ballot may not be counted.” 99 This additional language will cause assistors to question

every voter’s “need” for assistance, which further invades the voter’s privacy and opens assistors

to the threat of prosecution for any misstep.

            111.   An assistor must also swear that they did not “pressure” the voter to choose them

as the assistor. 100 This requirement will deter assistors from helping or even volunteering to help

voters out of fear that the assistor may be perceived as pressuring their selection as assistors. This

will deprive voters of access to their chosen assistors. Indeed, on its face, this provision will




98
  S.B. 1 § 6.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE §
64.034).
99
     Id.
100
      Id.


                                                    36
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 37 of 91




deprive voters of assistance from the person most likely to provide it—i.e., a person who

encourages the voter to seek assistance.

       112.    Second, in addition to the oath, Section 6.03 of SB1 requires assistors to fill out a

form stating the assistor’s “relationship to the voter,” and whether the assistor “received or

accepted any form of compensation or other benefit from a candidate, campaign, or political

committee.” 101 With respect to voting by mail, Section 6.05 of SB1 requires assistors to fill out

additional information on the mail ballot carrier envelope—namely, the assistor’s “relationship to

the voter” and whether the assistor “received or accepted any form of compensation or other

benefit from a candidate, campaign, or political committee in exchange for providing assistance.”

This new requirement for information will deter assistors and increase the risk that the ballot will

be rejected because the assistor made a clerical error.

       113.    Together with Section 6.04, these new requirements will slow in-person voting and

burden the right to vote of those seeking assistance, as each voter’s assistor must take time to both

complete a form and recite an oath.

       114.    Third, Section 6.06 of SB1 makes it a crime to compensate (or offer, solicit, receive,

or accept compensation for) assistance to mail voters. This prohibits assistors who work for non-

profit civic engagement organizations and who conduct voter outreach from assisting mail voters

who require such assistance to vote. 102 It will also likely deter many other assistors who fear

prosecution because the section defines “compensation” to mean any “economic benefit.”




101
   S.B. 1 § 6.03, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 64.0322(a)).
102
   S.B. 1 § 6.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 86.0105); TEX. PENAL CODE § 12.35.


                                                 37
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 38 of 91




          115.   Finally, Section 6.01 of SB1 discourages voter assistance by imposing limitations

on transportation to the polls for curbside voting. Any individual other than a close relative who

provides transportation to the polls to seven or more curbside voters who are entitled to receive

ballots at the polling place entrance or curb under Section 64.009 of the Texas Election Code must

complete and sign a form that contains the driver’s name and address and state whether the driver

is providing only transportation assistance or is also providing assistance with voting.103 SB1

provides that the form shall be delivered to the Secretary of State and retained as an election record

available to the Attorney General for inspection upon request. 104 Even though giving rides to

seven or more voters is not illegal, this requirement will deter individuals from giving these rides,

further reducing access to voting for voters who need assistance and depriving them of assistance

by their chosen assistors. In addition, poll watchers are expressly permitted to observe “any

activity conducted under this section,” which will further deter voter assistance by invading the

privacy of curbside voters who receive assistance. 105

          116.   As a result of these provisions, voters eligible for assistance will be deprived of

assistance and assistors will be deterred from and denied the opportunity to assist voters.

          2.     SB1 opens the door to intimidation and misconduct at the polls by tying the
                 hands of poll workers and election officials.

          117.   The ability of poll workers and election officials to effectively control and (if

necessary) remove poll watchers who are unruly or are violating the law is critical to protecting

the right to vote.



103
   S.B. 1 § 6.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§§ 64.009(f), (f-1)).
104
      Id. (codified at TEX. ELEC. CODE § 64.009(g)).
105
      Id. (codified at TEX. ELEC. CODE § 64.009(e)).


                                                 38
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 39 of 91




          118.   In 2009, a group of predominantly white volunteers known as the “King Street

Patriots” went to polling stations in minority neighborhoods in Harris County and interfered with

voting. In 2010, a poll watcher in Harris County stood directly behind and hovered over voters.

An election judge requested that the overzealous poll watcher step back, but the watcher

responded, “I have the right to stand wherever I want!” In 2020, individuals in militia gear were

gathered near an early voting location in Fort Worth. In Travis County, a poll watcher was arrested

after attempting to record activities during early voting with a hidden camera on her clothing. In

a 2021 training for poll watchers, an individual with the Harris County Republican Party, with a

stated goal of recruiting an “army” of watchers, argued that poll watchers from specific areas of

Harris County must “have the confidence and courage” to act as poll watchers in the areas “where

the fraud is occurring.” The areas that the individual referenced when describing where poll

watchers were coming from are suburban areas that are predominantly white. The areas that the

individual claimed were “where the fraud is occurring” are neighborhoods that are predominantly

inhabited by people of color in Houston. There was no evidence of fraud occurring in those

neighborhoods.

          119.   SB1 makes the work of poll workers even harder by loosening restrictions on poll

watchers and at the same time limiting poll workers’ ability to carry out their duty of “preserv[ing]

order and prevent[ing] breaches of the peace and violations of [the election] code in the polling

place.” 106

          120.   First, SB1 limits the ability of poll workers to manage unruly poll watchers. Section

4.06 of SB1 creates a new criminal offense—making it a Class A misdemeanor for an election

officer to “intentionally or knowingly refuse[] to accept a watcher for service when acceptance of


106
      TEX. ELEC. CODE § 32.075(a).

                                                  39
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 40 of 91




the watcher is required by this section.” 107 This provision effectively criminalizes refusing to

accept a poll watcher even if the polling place official is reasonably concerned that the watcher

will be unruly or will actually intimidate voters.

       121.    Section 4.01 of SB1 also prohibits “[a] presiding judge” from having a poll watcher

“removed from the polling place” for “violating a provision of this code or any other provision of

law relating to the conduct of elections, other than a violation of the Penal Code,” unless the

election judge or a clerk personally observed the violation. 108 SB1 thus allows poll watchers to

avoid being removed from a polling place, even after they violate the Election Code, and if there

were dozens of witnesses as long as the election judge or clerk were not among them.

       122.    Second, the Texas Election Code already allowed poll watchers to sit in a

convenient location and report any activity that concerned them, but now, Section 4.07 of SB1

guarantees poll watchers the right to “free movement where election activity is occurring within

the location at which the watcher is serving.” 109 In other words, under SB1, poll watchers can

essentially go wherever they please within a polling place, even if their presence intimidates those

present or causes other disruption.

       123.    Third, Section 4.09 of SB1 adds that the existing offense of “knowingly

prevent[ing] a watcher from observing an activity or procedure” now specifically includes “taking

any action to obstruct the view of a watcher or distance the watcher from the activity or procedure




107
   S.B. 1 § 4.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.051(g)).
108
   S.B. 1 § 4.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 32.075(g)).
109
   S.B. 1 § 4.07, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.056(e)).

                                                 40
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 41 of 91




to be observed in a manner that would make observation not reasonably effective.” 110 There is no

protection for poll workers taking routine actions of election administration that by chance obstruct

the view of a poll watcher, provided such actions were taken “knowingly.” Similarly, there is no

protection for poll workers who position themselves between a voter and a disruptive watcher in

order to protect the privacy of the voter.

        124.    Section 8.01 of SB1 adds another new provision to the Election Code, codified at

TEX. ELEC. CODE § 31.129, entitled “Civil Penalty.” Subsection (b) of that provision states that

“a[n] election official may be liable to this state for a civil penalty if the official: (1) is employed

by or is an officer of this state or a political subdivision of this state; and (2) violates a provision

of this code.” TEX. ELEC. CODE § 31.129(b); see also TEX. ELEC. CODE § 1.005(4-a) (defining

“election official”). Subsection (c) specifies that a “civil penalty imposed under this section may

include termination of the person’s employment and loss of the person’s employee benefits.” TEX.

ELEC. CODE § 31.129(c).

       125.    Fourth, Section 4.10 of SB1 allows the parties and candidates that appoint poll

watchers to seek injunctive, mandamus, or “any other remedy available under law” whenever they

“believe[] that the watcher was unlawfully prevented or obstructed from the performance of the

watcher’s duties.” 111

       126.    Together, these provisions will intimidate poll workers into allowing poll watchers

to roam around the polling place and stand uncomfortably close to voters. Permitting poll watchers

to stand over voters, make disruptive noises, and hawkishly observe voting activities is designed



110
   S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.061(a) (emphasis added)).
111
   S.B. 1 § 4.10, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.063).

                                                  41
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 42 of 91




to, and will, have a chilling and intimidating effect on Texas voters, particularly Black, Latino and

Asian American voters, who are members of historically marginalized groups.

       127.    SB1’s new definition of poll watcher obstruction also is unconstitutionally vague.

Under the revised Section 4.09, it may be unlawful for an election worker to take “any action” (no

matter how small) if it renders “observation not reasonably effective.” 112

       128.    The phrase “not reasonably effective” is not defined in SB1 or elsewhere in the

Texas Elections Code. SB1 provides no guidance as to what makes a watcher’s observation

activities “reasonably effective” or when routine actions of election administration unlawfully

reduce the “effectiveness” of a watcher’s observation. Thus, the statute provides no objective

standard for conduct that could “obstruct the view of a watcher” in a manner proscribed thereby—

clearing a pathway for arbitrary application. 113

       129.    This ambiguity deprives Plaintiff Lewin and other election workers of reasonable

notice of how to comply with the law and avoid severe jail time or fines.

       130.    This ambiguity will further deter Texans from becoming poll workers, augmenting

the struggles election officials already face to staff each polling location.

       131.    Ultimately the burdens imposed by SB1 will fall on voters, particularly voters of

color. Should poll watchers engage in behavior that intimidates or harasses voters or election

workers, including hovering over them or trailing voters through the polling place, election

workers run the risk of criminal prosecution if they attempt to stop such behavior. The risk of such

intimidation has historically been and will continue to be higher for voters of color.



112
   Compare Tex. Elec. Code § 33.061(a) (2020) with S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess.
(Tex. 2021) (codified at TEX. ELEC. CODE § 33.061(a)).
113
   S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.061(a) (2021).

                                                    42
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 43 of 91




        3.      SB1 prohibits voting procedures that facilitated record voter participation in
                2020, despite no evidence that these measures contribute to voter fraud.

        132.    Several important accommodations that local officials in large, diverse counties

adopted to ensure safe, secure voting during the 2020 Election in light of the COVID-19 pandemic

are outlawed or undermined by SB1.

        133.    For example, during the 2020 Election, Harris County’s 24-hour voting allowed

more than 10,000 Harris County voters to cast ballots overnight. 114 But Sections 3.09 and 3.10 of

SB1 prohibit future efforts to increase access to the polls by requiring early voting clerks to restrict

voting hours to between 6:00 a.m. and 10:00 p.m. on weekdays and the last Saturday of the early

voting period, and to between 9:00 a.m. and 10:00 p.m. on the last Sunday of the early voting

period. 115

        134.    SB1 also effectively prohibits local election officials from providing drive-thru

voting—like Harris County did in 2020—despite the lack of any evidence to suggest a link

between more convenient voting hours and fraud or irregularities of any kind. 116




114
   Peter Holley, Meet the Harris County Voters Who Showed Up After Midnight to Cast a Ballot,
Tex. Monthly (Oct. 30, 2020), https://www.texasmonthly.com/news-politics/harris-county-24-
hour-voting/.
115
   S.B. 1 §§ 3.09, 3.10, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§§ 85.005(a), (c), and 85.006(e)).
116
    Notably, following the success of Harris County’s drive-thru voting program, a bipartisan task
force of local Harris County officials released a report stating that the task force had not found
“proof of any election tampering, ballot harvesting, voter suppression, intimidation or any other
type of foul play that might have impacted the legitimate cast or count of a ballot.” Alan Rosen et
al., Harris County Election Security Task Force Final Productivity Report, p. 8 (Dec. 17, 2020),
available                                                                                        at
https://www.dropbox.com/s/7mzy6aws7fnzvy9/Elections%20Security%20Task%20Force%20fin
al%20report%20PUBLC%20FINAL%2012-17-20%20442p.pdf?dl=0 (last accessed Sep. 1,
2021).


                                                  43
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 44 of 91




       135.    In particular, Sections 3.04, 3.12, and 3.13 of SB1 require polling places and early

voting sites to be located “inside” buildings. 117 Section 3.04 also expressly prohibits voting “from

inside a motor vehicle” unless the voter meets other requirements. 118 Further, except in the case

of a natural disaster, “[a] polling place may not be located in a movable structure ….” 119

       136.    SB1’s additional requirements for mail ballots increase the likelihood that ballots

submitted by eligible voters will be rejected based on a technicality. Sections 5.07 and 5.13 require

a clerk to reject any mail ballot or mail ballot application if the required information does not

identify “the same voter identified on the applicant’s application for voter registration . . . .”120

This requires election clerks to reject otherwise valid mail ballots and mail ballot applications from

voters eligible to vote by mail where, for example, the voter inadvertently omits their ID number

or other required information, or where the clerk lacks ID information in the voter’s record on file,

even when the clerk can verify the voter’s application or mail ballot envelope through other means.




117
   See S.B. 1 §§ 3.04, 3.12, 3.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX.
ELEC. CODE §§ 43.031; 85.061(a) (adding that an early voting location “shall be located inside
each branch office” and not in a tent) (emphasis added), 85.062, respectively).
118
   S.B. 1 § 3.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§§ 43.031(b)); S.B. 1 § 6.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC.
CODE § 64.009).
119
    See S.B. 1 § 3.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC.
CODE §85.062); see also S.B. 1 §§ 3.04, 3.11, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified
at § 43.031, 85.061(a), respectively).
120
  See S.B. 1 §§ 5.07 and 5.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at Tex. Elec.
Code §§ 86.001(f), 87.041(b)(8), respectively). The corresponding provisions §§ 5.02 and 5.08
impose new requirements that a voter provide an ID number on the mail ballot application and
mail ballot carrier envelope, respectively.


                                                 44
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 45 of 91




          4.     SB1 criminalizes otherwise lawful voter assistance by community-based non-
                 partisan organizations through vague and overbroad “vote harvesting”
                 prohibitions.

          137.   SB1 takes aim at community-based organizations that conduct non-partisan voter

turnout activities and criminalizes these activities under the label “vote harvesting.”

          138.   Under Section 7.04 of SB1, a person commits an offense if he or she (a) “directly

or through a third party, knowingly provides or offers to provide vote harvesting services in

exchange for compensation or other benefit;” (b) “directly or through a third party, knowingly

provides or offers to provide compensation or other benefit to another person in exchange for vote

harvesting services;” or (c) “knowingly collects or possesses a mail ballot or official carrier

envelope in connection with vote harvesting services.” 121 Any violation is a third-degree felony,

subject to a minimum of two years (and up to ten years) of jail time and a fine of up to $10,000. 122

          139.   SB1 defines “vote harvesting services” as “in-person interaction with one or more

voters, in the physical presence of an official ballot or a ballot voted by mail, intended to deliver

votes for a specific candidate or measure.” 123

          140.   Section 7.04 of SB1 does not define “in-person interaction.” As a result, the statute

does not limit the broad range of daily interactions that could come within the statute’s

prohibitions. 124 SB1 on its face reaches pure speech, including political speech, so long as it is

part of an “in-person interaction” somehow “in the physical presence of” an official ballot or a




121
      Id. (codified at TEX. ELEC. CODE § 276.015(b)–(d)).
122
      Id. (codified at TEX. ELEC. CODE § 276.015(f)); TEX. PENAL CODE § 12.34.
123
      Id. (codified at TEX. ELEC. CODE § 276.015(a)(2)).
124
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX ELEC. CODE
§ 276.015(a)(2)).

                                                  45
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 46 of 91




mail ballot, and the speech is made with the intent to “deliver votes for a specific candidate or

measure.”

          141.   Although SB1 requires a person to receive “compensation or other benefit” for a

violation, the range of what could constitute “compensation or other benefit” is impossible for the

average citizen to determine. Section 7.04 of SB1 defines “benefit” to mean “anything reasonably

regarded as a gain or advantage,” no matter how minor, thus providing little guidance and little

constraint on prosecutorial discretion. 125

          142.   This vague and overbroad offense will chill even ordinary interactions between

family members, friends or neighbors. For example, if a wife is a paid campaign worker for a

local school bond issue and encourages her husband during dinner to support the local school bond

issue when he casts his mail ballot while the mail ballot happens to be in the same room, then she

could be found to have knowingly (i) interacted in-person with a voter (i.e., her husband), (ii) in

the presence of his mail ballot, (iii) with intent to “deliver a vote” for the measure she supports

(i.e., by supporting her choice on the measure), and (iv) received compensation from a campaign,

sufficient to constitute “compensation” (i.e., her salary) under the inference set forth in Section

6.03. In fact, under SB1’s vote harvesting provisions, any person who works (or even volunteers)

for a political campaign for a particular candidate or issue must now worry about the possible

presence of a mail ballot anytime he or she discusses politics with a friend. Similarly, an employee

of any of a wide array of civic engagement organizations, including the Plaintiff organizations,

could potentially be prosecuted under this provision by canvassing for a local measure (such as

infrastructure improvements) and assisting a mail voter who invites her into the house and requests

help voting.


125
      Id. (codified at TEX. ELEC. CODE § 276.015(a)(1)); see also TEX. PENAL CODE § 1.07(a)(7).

                                                 46
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 47 of 91




       143.    As a result of these unusual provisions, SB1 will reduce voter participation by

Texans who rely on assistance to cast their mail ballots. Although these restrictions have the

potential to burden all Texas voters, they will impose the greatest burdens on voters of color,

language minority voters, elderly voters, low-income voters, and voters with disabilities.

       5.      SB1 further burdens state officials and expands investigation of voter
               registration applicants and registered voters, despite no evidence of
               widespread voter fraud.

       144.    As described above, there is simply no evidence that widespread voter fraud has

occurred in any election administered by the State of Texas and its political subdivisions. Nor is

there any evidence of a substantial risk of such fraud given Texas’s already strict voting laws.

       145.    Nonetheless, SB1 effectively creates a pipeline for prosecution by sending names

of possibly ineligible voters to law enforcement, even if the voters are in fact eligible or simply

made a mistake. Previously, the county voter registrar verified the voter’s eligibility and removed

ineligible voter from the rolls. Under SB1 Section 2.04, however, if a person whom the voter

registrar subsequently determines is not eligible to vote either registered to vote or voted in an

election, the registrar must execute and deliver, “within 72 hours[,]” an affidavit with the relevant

facts to the Attorney General, the Secretary of State, and the local prosecutor. 126 The added threat

of criminal prosecution will have a chilling effect on voter registration, particularly among groups,

including Black, Latino and Asian American communities, who have been historically victimized

by law enforcement.

       146.    Section 2.04 also sweeps in and facilitates investigation and prosecution of

perfectly legal activity by voters. For example, a person could register to vote in her home county,



126
   See S.B. 1 § 2.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 15.028).


                                                 47
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 48 of 91




then move temporarily to a different county for work. If the voter subsequently seeks exemption

from jury duty because she is not present in her home county, the registrar can report the voter to

law enforcement under SB1 as an ineligible person registered to vote even though the voter has

committed no offense.

        147.     Section 2.07 requires the Secretary of State to compare on a quarterly basis the lists

of individuals who were excused from jury duty service for non-residence in the county with the

statewide computerized voter registration list and to send notice to the voter registrar of the

county. 127 As with Section 2.04, properly-registered voters living temporarily away from home,

as in the case of migrant workers, for example, may be purged from the voter roll as ineligible

non-residents and targeted for prosecution. This provision will also have a disparate impact on

Latino voters.

        148.     Section 2.06 of SB1 requires the Secretary of State to impose certain requirements

on registrars who are not in substantial compliance with a provision or rule related to: (1) the

delivery of the suspense list; (2) the cancellation following end of suspense list period; and (3) the

electronic submission of information for maintenance of the statewide computerized voter

registration list. A county may also be held liable if the county’s registrar “fails to take overt action

to comply with” the imposed requirements. 128 Section 8.01 of SB1 imposes a civil penalty on

employees or officers of the state (and its political subdivisions) who violate a provision of the

election code. The civil penalties “may include termination of the person’s employment and loss




127
   See S.B. 1 § 2.07, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§§ 18.068(a), (a-1).
128
   See S.B. 1 § 2.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 18.065).


                                                   48
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 49 of 91




of the person’s employment benefits.” 129 These additional penalties will force career officials to

shift resources towards meeting tight deadlines for reporting voters for investigation and removing

voters from the voter rolls—even in the absence of any pending election—just to avoid these

penalties.

H.     SB1 Will Harm Plaintiffs. 130

       149.    LUPE’s members include Latino registered voters, some of whom have limited

English proficiency and/or have limited formal schooling and limited literacy. LUPE’s members

include Latino voters who require and use assistors of their choice to vote due to disability and/or

inability or limited ability to read or write in English. These voters use their chosen assistors to

navigate the polling place, interact with poll workers, understand how to use the voting equipment

and read, interpret, mark and cast the ballot. Some of LUPE’s members are illiterate because

racially discriminatory practices in Texas prevented them from gaining a formal education.

       150.    LUPE’s members include voters who are disabled and require and use assistors of

their choice, but who are not blind and can see and read the ballot.




129
   See S.B. 1 § 8.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 31.129(b), (c)).
130
    According to Fifth Circuit precedent, an association does not need to “set forth the name of a
particular member in its complaint in order to survive a Rule 12(b)(1) motion to dismiss based on
a lack of associational standing.” Hancock Cty. Bd. of Supervisors v. Ruhr, 487 F. App’x 189, 198
(5th Cir. 2012); id. at 198 n.5 (quoting Bldg. & Constr. Trades Council of Buffalo v. Downtown
Dev., Inc., 448 F.3d 138, 145 (2d Cir. 2006) (“[D]efendants cite to no authority -- nor are we aware
of any -- that supports the proposition that an association must name names in a complaint in order
properly to allege injury in fact to its members.”). Where an association generally alleges “that
some of its members” fall within the group of aggrieved citizens, the associational plaintiffs have
“adequately alleged that some of its members were suffering a concrete, particularized injury” and
have standing to proceed. Hancock, 487 F. App’x at 198–99; see Lewis v. Hughs, 475 F. Supp. 3d
597, 613 (W.D. Tex. 2020) (organizational plaintiffs had associational standing to challenge mail-
in voting laws).


                                                49
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 50 of 91




          151.   LUPE members include voters with impairments that limit major life activities,

including accessing the right to vote. LUPE members include voters who require accommodations

that SB1 limits or curtails with the imposition of new requirements for casting a ballot. It will now

be more difficult for LUPE members with disabilities to request a mail ballot, receive assistance

with voting in person or by mail, or receiving a ride to the polls.

          152.   LUPE’s members also include voters who arrive at the polling place in a car with

several individuals, including family members, as part of doing errands for the day, and have, and

would in the future, use curbside voting or drive-thru voting.

          153.   LUPE’s members and staff include individuals chosen as assistors to assist voters

with navigating the polling place, interacting with poll workers, understanding how to use the

voting equipment and reading, interpreting, marking and casting the ballot. LUPE’s members and

staff include individuals chosen as assistors to assist eligible voters with voting by mail, including

helping the voters read, interpret, complete and return the application for ballot by mail and mail

ballot.

          154.   LUPE’s members and staff include individuals who participate in in-person, door-

to-door canvassing to support or oppose non-partisan ballot measures related to the development

of infrastructure in the Rio Grande Valley colonias. At times, a voter will ask a LUPE member or

staff person who is canvassing to help the voter vote by mail. Because LUPE’s canvassing

activities include in-person interaction with voters at their homes, including when a voter’s mail

ballot is in the home, LUPE members and staff are subject to investigation and prosecution under

SB1’s “vote harvesting” provisions.

          155.   SB1 will injure LUPE by exposing the organization’s paid staff and members to

investigation and prosecution when they canvass for local measures (such as infrastructure



                                                 50
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 51 of 91




improvements) and either serve as a chosen assistor of a mail voter or advocate for a measure in

the presence of a voter’s mail ballot in the voter’s home.

           156.   SB1 will injure LUPE’s members, including by depriving them of the assistors of

their choice, which will cause LUPE members who vote in person to vote less than the complete

ballot, not vote at all or make errors that will result in their ballot not being counted or being

counted in a way that is contrary to the intent of the voter. SB1 will also cause LUPE members

who vote by mail to vote less than the complete ballot, not vote at all, or make errors that will

result in their ballot not being counted or being counted in a way that is contrary to the intent of

the voter.

           157.   SB1 will also injure LUPE’s members by extending wait times at the polling place

as assistors are required to complete forms and take an oath for each assisted voter.

           158.   SB1’s requirements to provide additional information on mail ballot applications

and carrier envelopes will injure LUPE’s members by causing the rejection of their mail ballots

when they make inadvertent clerical errors or where the clerk lacks ID information in the voter’s

record on file.

           159.   LUPE’s members include voters who will be intimidated by poll watchers roaming

freely around polling places, watching and listening, and standing close to them while they vote.

           160.   Members of LUPE include individuals who are migrant workers who are registered

to vote.

        161.      LUPE’s members and staff include individuals who are chosen as assistors and will

be deterred from serving as chosen assistors by SB1’s requirement that the assistor fill out a form;

take an oath; and face criminal prosecution, conviction and punishment for inadvertently making

a mistake on the form or with the oath, or for providing necessary assistance to voters that exceeds



                                                 51
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 52 of 91




the scope of assistance described in the oath, or for encouraging a voter in a way that law

enforcement officials will conclude is “pressur[ing]” a voter to use them as an assistor in violation

of the required oath.

       162.    SB1 will force LUPE to divert its resources away from its GOTV, voter registration

and community education activities, which are central to its mission, in order to counteract the

negative effects of SB1 on its members. LUPE has in the past, and will in the future, conducted

GOTV activities aimed at Latino registered voters with low turnout. LUPE has in the past, and

will in the future, pay employees who, among their other duties: educate voters about an upcoming

election; urge the voters to vote; and encourage, offer and deliver assistance to the voters. LUPE’s

employees have in the past, and will in the future, assisted voters in applying for and preparing

their mail ballots as provided by Section 86.010 of the Texas Election Code including assisting

non-family members to prepare their ballots.

       163.    Members of LUPE include individuals who volunteer to be assistors for family

members and non-family members in connection with voting at the polls and by mail. Members

of LUPE include individuals who assist voters, including Latino, elderly, disabled, limited English

proficient and limited literacy voters, to vote by mail including helping the voters prepare their

mail ballots. Members of LUPE include individuals who assist voters, including Latino, elderly,

disabled, limited English proficient and limited literacy voters, to vote in person at the polling

place, including assisting voters in navigating the polling place, interacting with poll workers,

using the voting equipment, reading and interpreting the ballot and recording a vote on the ballot.

Individual LUPE employees and/or members have in the past driven, and would plan in the future

to drive, more than seven voters to the polls for curbside voting.




                                                 52
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 53 of 91




       164.    SB1 will frustrate the mission of LUPE by reducing the number of people available

to assist voters and reducing voter turnout of voters who rely on assistance, including Latinos with

limited English proficiency, limited literacy rates and low rates of turnout. Members of LUPE

face felony prosecution, conviction and punishment under SB1 for assisting voters to vote in

person and by mail.

       165.    LUPE will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.

SB1 will also frustrate the mission of LUPE by reducing the number of people available to assist

voters, and reducing the voter turnout of voters who rely on assistance, including Latinos with

limited English proficiency, limited literacy rates and low rates of voter turnout. Members,

employees, and the leadership of LUPE face felony prosecution, conviction and punishment under

SB1 for assisting voters to vote in person and vote by mail.

       166.    SB1 will frustrate FRIENDSHIP-WEST’s mission of encouraging its eligible

congregants and community members, the majority of whom are Black, to register, to vote, and to

serve as poll workers and volunteer deputy registrars, and will frustrate its ability to operate as a

polling place. FRIENDSHIP-WEST’s congregants have already expressed hesitation to serve as

poll workers in future Texas elections due to the lack of clarity around the impact of some of SB1’s

provisions and the several provisions that impose potential new criminal liability on poll workers.

       167.    FRIENDSHIP-WEST has in the past and will in the future encourage civic

education and participation among its congregants and in the communities it serves.

FRIENDSHIP-WEST's voter engagement activities include registering eligible voters, hosting

voter registrar trainings, providing written and online resources about in-person and mail voting,



                                                 53
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 54 of 91




holding events to encourage members to vote, recruiting poll workers and volunteer deputy

registrars, and serving as a polling place.

       168.    FRIENDSHIP-WEST’s congregants include individuals who vote by mail and

individuals who serve as poll workers.

       169.    FRIENDSHIP-WEST believes it will have difficulty recruiting poll workers

because of confusion about SB1’s new rules and fear among volunteers about criminal

prosecution. Many of FRIENDSHIP-WEST’s congregants who served as poll workers in previous

elections, including the 2020 election, will be deterred from doing so in future elections because

of potential harassment by poll watchers and the possibility of criminal prosecution if they regulate

poll watcher conduct.

       170.    FRIENDSHIP-WEST will also be required to divert and expend resources to

conduct voter education; recruit, train, and manage new volunteers; and conduct community

outreach to ensure that its congregants and community members comply with SB1’s new, often

confusing, and vague restrictions. This is particularly true of the provision in SB1 that limits poll

workers’ ability to regulate poll watchers’ conduct in polling places. For the 2020 general election,

FRIENDSHIP-WEST engaged in efforts to recruit its members to serve as poll monitors to watch

poll watchers at polling places out of fear that poll watchers would intimidate and disrupt voters

while they cast their ballots. These fears are compounded now that poll watchers have, effectively,

free movement within a polling location. Indeed, in addition to planning events to explain the

impact of SB1 on future elections, FRIENDSHIP-WEST also anticipates specifically conducting

independent trainings for congregants who do choose to serve as poll workers, in addition to

county-provided trainings, to ensure their congregants are aware of the limits SB1 places on poll




                                                 54
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 55 of 91




workers’ ability to regulate poll watcher conduct so that their congregants are not exposed to

criminal liability.

        171.    ADL and its supporters will be irreparably harmed by SB1. In 2020, ADL’s

outreach and education was aimed at ensuring voters had a plan for voting safely. ADL worked

to educate Texans on how to vote, when to vote, and where to vote, focusing primarily on early

voting and mail-in voting (for eligible voters). ADL provided information to a wide audience,

including 700 schools participating in its “No Place for Hate” program. ADL’s voter education

and outreach required its staff and volunteers to gather information from local election officials on

the applicable rules in each jurisdiction, and those efforts were time consuming given 2020’s rule

changes and disinformation campaigns.

        172.    ADL is similarly concerned with SB1’s provisions that limit and criminalize voter

assistance. Although ADL does not directly assist voters with mail ballots or applications, it

provides supporters with information about assisting voters. ADL is concerned that by providing

its at least 23,000 Texas supporters with information about how to assist voters with mail-in voting

or applications, the organization would place itself and its supporters at risk of prosecution.

        173.    ADL will be required to divert and expend resources on designing its voter

education to properly inform Texas voters about SB1’s new, often confusing and/or vague,

provisions.

        174.    SVREP will be irreparably harmed by SB1. SVREP has in the past, and will in the

future, encouraged civic education and participation in the communities it serves. SVREP’s voter

engagement activities include registering eligible voters, hosting voter registrar trainings,

providing written and online resources about in-person and mail voting (including information




                                                 55
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 56 of 91




about assisting disabled and language minority voters), and holding events to encourage

community members to vote.

       175.    SB1 will force SVREP to divert its resources away from its GOTV and leadership-

building activities, which are central to its mission, in order to counteract the negative effects of

SB1 on the community members and voters SVREP serves. SVREP has in the past, and will in

the future, conducted GOTV activities aimed at Latino registered voters with low turnout. SVREP

has in the past, and will in the future, employed paid canvassers to contact voters in person at their

homes and: educate the voters about an upcoming election, and urge the voters to vote, encourage,

offer and deliver assistance to the voters. SVREP’s paid canvassers have in the past, and will in

the future, assisted voters in applying for and preparing their mail ballots as provided by Section

86.010 of the Texas Election Code including assisting non-family members to prepare their ballots.

       176.    Employees and volunteers of SVREP include individuals who encourage family

members and non-family members to select them as assistors for voting at the polls and by mail.

Employees and volunteers of SVREP include individuals who assist voters, including Latino

elderly, disabled, limited English proficient and limited literacy voters, to vote by mail, including

helping the voters prepare their mail ballots; employees and volunteers of SVREP include

individuals who assist voters, including Latino elderly, disabled, and voters with limited English

proficiency and limited literacy, to vote in person at the polling place, including assisting voters in

navigating the polling place, interacting with poll workers, using the voting equipment, and

reading and interpreting the ballot and recording a vote on the ballot.

       177.    SVREP will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.



                                                  56
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 57 of 91




       178.    Employees and volunteers of SVREP conduct their activities with Latino registered

voters, some of whom are limited English proficient and/or have limited formal schooling and

limited literacy, including Latino voters who require and use assistors of their choice to vote due

to disability or inability to read or write. These voters use their chosen assistors to navigate the

polling place; interact with poll workers; understand how to use the voting equipment; and read,

interpret, mark and cast the ballot.

       179.    SVREP’s employees and volunteers conduct their activities individuals who are

chosen as assistors and will be deterred from serving as chosen assistors by SB1’s requirement

that the assistor fill out a form; take an oath and face criminal prosecution, conviction and

punishment for inadvertently making a mistake on the form or with the oath, or for providing

necessary assistance to voters that exceeds the scope of assistance described in the oath, or for

encouraging a voter in a way that law enforcement officials will conclude is “pressur[ing]” a voter

to use them as an assistor in violation of the required oath.

       180.    SB1 will also frustrate the mission of SVREP by reducing the number of people

available to assist voters, and reducing the voter turnout of voters who rely on assistance, including

Latinos with limited English proficiency, and limited literacy rates, leading to low rates of voter

turnout. Volunteers, employees, and the leadership of SVREP face felony prosecution, conviction

and punishment under SB1 for assisting voters to vote in person and vote by mail.

       181.    SVREP’s volunteers and employees serve voters who are disabled and require and

use assistors of their choice but who are not blind and can see and read the ballot, including

curbside voters who arrive at the polling place in a car with several individuals, including family

members, as part of doing errands for the day. SVREP’s volunteers and employees serve voters




                                                 57
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 58 of 91




who are illiterate because racially discriminatory practices in Texas prevented them from gaining

a formal education.

       182.   SB1 will irreparably harm TEXAS IMPACT, its individual members, its member

organizations and member congregations, and their individual members. TEXAS IMPACT

manages a significant voter education campaign, conducts voter registration drives at churches,

educates members about early voting, encourages members to vote, and distributes mail ballot

applications to eligible voters through its Vote by Mail Captains program. Twenty-five different

congregations participated in that program in 2020, working to assist their elderly and disabled

members in voting by mail during the pandemic. TEXAS IMPACT’s staff and interns were

compensated for their work in the Vote by Mail Captains program, and TEXAS IMPACT and its

member congregations provided funding and resources, including copying services and postage,

to carry out the program. TEXAS IMPACT also recruits volunteer deputy registrar and poll

workers.

       183.   TEXAS IMPACT will have difficulty recruiting poll workers because of confusion

about SB1’s new rules for partisan poll watchers and fear among volunteers of criminal

prosecution for conduct that could “obstruct the view of a watcher.” Indeed, several of TEXAS

IMPACT’s individual members have already expressed hesitation to serve as poll workers in 2022

specifically because of SB1’s poll watcher provision (Section 4.09). And those who may plan to

still serve as a poll worker have already started to prepare and alter their approach to engaging

with poll watchers.

       184.   SB1’s new identification requirements for mail-in ballots impose an additional

burden on mail voting, which a significant portion of TEXAS IMPACT members utilized during

the 2020 election. This provision, along with SB1’s voter assistance provisions and signature



                                               58
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 59 of 91




matching provisions will particularly harm the members of TEXAS IMPACT who are elderly or

have disabilities for which they require assistance to vote, and who, due to age or disability, may

not be able to hold a pen or write the same signature over time.

       185.    TEXAS IMPACT’s member organizations, member congregations, and individual

members will be deterred from assisting voters who need it. Members will also be deterred from

assisting eligible voters because of SB1’s enhanced information requirements and expanded oath

requirement that limits what actions assistors may take to assist a voter without consideration of

the range of needs of voters with disabilities and exposes assistors to potential criminal liability,

and would require them to breach the privacy of a voter to confirm that the voter is eligible to

receive assistance.

       186.    TEXAS IMPACT has already diverted time and resources toward ensuring that its

members comply with SB1’s new, onerous, and often confusing and/or vague provisions. TEXAS

IMPACT hosted a two-and-a-half-hour event on November 13, 2021, to update and field questions

from its members about the impacts of SB1. Given the gravity of fear, concern, and confusion

expressed about SB1 by TEXAS IMPACT members during and after this educational event,

TEXAS IMPACT anticipates being required to continue diverting its resources toward educating

its members about the harmful and confusing provisions of SB1.

       187.    TEXAS IMPACT’s individual members—and the individual members of its

organizational members—include individuals who require assistance with voting in-person at the

polling place, by mail, and curbside; and individuals who serve as assistors. TEXAS IMPACT

members also take positions on ballot measures.

       188.    MABA-TX’s members include Latino registered voters.




                                                 59
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 60 of 91




       189.    MABA-TX’s members include individuals chosen as assistors to assist eligible

voters in the polling place and with voting by mail, including helping the voters navigate the

polling place, interact with poll workers, read, interpret, complete and submit the ballot.

       190.    MABA-TX’s members include individuals who are chosen as assistors and will be

deterred from serving as chosen assistors by SB1’s requirement that assistors fill out a form, take

an oath and face criminal prosecution, conviction and punishment for inadvertently making a

mistake on the form or with the oath, or for providing necessary assistance to voters that exceeds

the scope of assistance described in the oath, or for engaging in activity that might be perceived to

be “pressuring” a voter to use them as an assistor in violation of the required oath.

       191.    SB1 will also injure MABA-TX’s members by extending wait times at the polling

place as assistors complete forms and take an oath for each assisted voter.

       192.    SB1 will force MABA-TX to divert its resources away from its community

education activities, which are part of its mission, in order to counteract the negative effects of

SB1 on its members and the communities in which members practice. MABA-TX has in the past,

and will in the future, work to educate voters about upcoming elections, urge the voters to vote,

and encourage, offer and provide assistance to the voters.

       193.    Members of MABA-TX include individuals who volunteer to be assistors for

family members and non-family members in connection with voting at the polls and by mail.

       194.    MABA-TX will be required to divert resources to prepare new educational

materials and conduct outreach to its members to educate them about SB1’s new restrictions and

requirements for assisting voters with mail and in-person voting.




                                                 60
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 61 of 91




       195.    MABA-TX believes that SB1’s negative effects on Latino voters will result in

fewer Latinos casting ballots and the election of fewer Latino judges. MABA-TX believes that

SB1 will result in MABA-TX members practicing before less diverse judges.

       196.    TEXAS HOPE and its members will be irreparably harmed by SB1. Through its

membership, Texas HOPE focused its 2020 efforts on GOTV strategies and encouraging Latinos

to run for local office. This included efforts to energize and educate voters.

       197.    TEXAS HOPE’s membership includes Latino voters who will be intimidated by

poll watchers roaming freely around the polling place, watching and listening to voters, and

standing close to them while they vote.

       198.    TEXAS HOPE has members who qualify to vote by mail, and its membership will

be harmed by the new barriers on mail voting imposed by SB1.

       199.    TEXAS HOPE will be forced to divert resources to educate its membership about

SB1's restrictions, the rights that voters still possess under the SB1 regime, and the continuing

importance of voter participation. For example, under SB1 partisan poll watchers have increased

authority to get close to and possibly intimidate voters in the polling place. TEXAS HOPE will be

required to divert resources into providing its members information about the rights of Latino

voters to vote free of harassment in the polling place and recommended responses to voter

harassment.

       200.    Finally, due to its cumulative effect of suppressing Latino voters, laws such as SB1

depress Latino turnout by decreasing interest in and the convenience of voting. In response,

TEXAS HOPE will need to spend more of its resources on enfranchising and educating voters.

Specifically, resources TEXAS HOPE could have used to educate persons who could run for local

office will need to be reallocated to its GOTV effort.



                                                 61
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 62 of 91




       201.    SB1 will also hurt TEXAS HOPE members who have historically served as poll

workers and election judges. TEXAS HOPE believes it will have difficulty recruiting election

workers because of confusion about SB1’s new rules for partisan poll watchers and fear among

volunteers about criminal prosecution. Yet, political engagement, such as volunteering at the polls,

is integral to TEXAS HOPE’s mission of promoting Latino civil engagement. Accordingly,

TEXAS HOPE will have to divert additional resources to energize its members and the Latino

community to serve as election officials.

       202.    JOLT ACTION will be irreparably harmed by SB1. JOLT ACTION has in the

past, and will in the future, conduct GOTV activities, which are aimed at Latino registered voters

with low turnout, and leadership-building activities, which are central to its mission. In order to

counteract the negative effects of SB1 on its members and the voters it serves, JOLT ACTION

will be forced to divert its resources away from its GOTV and leadership-building activities.

       203.    JOLT ACTION has in the past, and will in the future, employ paid canvassers to

contact voters in person at their homes to, among other things, educate the voters about an

upcoming election; urge the voters to vote; and encourage, offer and deliver assistance to the

voters. JOLT ACTION’s paid canvassers have in the past, and will in the future, assist voters in

applying for and preparing their mail ballots as provided by Section 86.010 of the Texas Election

Code, including assisting non-family members to prepare their ballots.

       204.    Members of JOLT ACTION include individuals who volunteer to be assistors for

family members and non-family members in connection with voting at the polls and by mail.

Members of JOLT ACTION include individuals who assist voters, including Latino, elderly,

disabled, limited English proficient and limited literacy voters, to vote by mail, including helping

voters prepare mail ballots. Members of JOLT ACTION include individuals who assist voters,



                                                62
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 63 of 91




including Latino, elderly, disabled, limited English proficient and limited literacy voters, to vote

in person at the polling place, including assisting voters in navigating the polling place, interacting

with poll workers, using voting equipment, reading and interpreting the ballot and recording a vote

on the ballot.

        205.     JOLT ACTION’s membership and staff include individuals who have been chosen

as assistors in the past and will be deterred from serving as chosen assistors by SB1’s requirement

that the assistor fill out a form, take an oath, and face criminal prosecution, conviction and

punishment for inadvertently making a mistake on the form or with the oath, or for providing

necessary assistance to voters that exceeds the scope of assistance described in the oath, or for

encouraging a voter in a way that law enforcement officials will conclude is “pressur[ing]” a voter

to use them as an assistor in violation of the required oath. JOLT ACTION members, staff and

volunteers have already expressed great concern about the liability they face when assisting voters.

In response to these concerns related to SB1, JOLT ACTION has been forced to divert time and

resources into a process in which they will decide whether to continue to offer voter assistance,

which is critical to fulfilling their mission.

        206.     SB1 will frustrate the mission of JOLT ACTION by reducing the number of people

available to assist voters and reducing voter turnout of voters who rely on assistance, including

Latinos with limited English proficiency, limited literacy rates and low rates of turnout. Members,

employees, and the leadership of JOLT ACTION face felony prosecution, conviction and

punishment under SB1 for assisting voters to vote in person and by mail.

        207.     JOLT ACTION will be required to divert resources to retrain staff, prepare new

educational materials, recruit, train and manage new volunteers, and conduct community outreach

to comply with SB1’s new restrictions and requirements for assisting voters with mail and in-



                                                  63
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 64 of 91




person voting. For example, JOLT ACTION must redirect its resources towards retraining and

obtaining new materials because employees previously used iPad tablets to help voters request a

mail ballot, but SB1 now requires that mail ballot applications be “submitted” in writing and signed

“using ink on paper.”

       208.    WCVI will be irreparably harmed by SB1. WCVI will be forced to divert resources

away from research, policy seminars, and community workshops to mitigate the effects of SB1 on

Latino voters. WCVI will be compelled to begin to work immediately with Latino leaders to

ameliorate the negative effects of SB1, including undertaking time-consuming efforts to quell the

fears of Latino voters about SB1’s new voting restrictions and requirements, explaining how

limited English proficient voters may continue to utilize assistors of their choice for voting, and

analyzing the scope of permissible assistance under SB1. WCVI will be required to divert and

expend resources on informing Texas Latino voters about SB1’s new, often confusing and/or

vague, provisions.

       209.    FIEL and its members will be irreparably harmed by SB1. SB1 will force FIEL to

divert its resources away from its GOTV and leadership-building activities, which are central to

its mission, in order to counteract the negative effects of SB1 on its members and the voters FIEL

serves. FIEL has in the past, and will in the future, conduct GOTV activities aimed at Latino

registered voters with low turnout. FIEL has in the past, and will in the future, employ paid

canvassers to contact voters in person at their homes and educate the voters about an upcoming

election, urge the voters to vote, and encourage, offer and deliver assistance to the voters. FIEL’s

paid canvassers have in the past, and will in the future, assist voters in applying for and preparing

their mail ballots as provided by Section 86.010 of the Texas Election Code including assisting

non-family members to prepare their ballots.



                                                 64
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 65 of 91




        210.   Members of FIEL include individuals who encourage family members and non-

family members to select them as assistors for voting at the polls and by mail. Members of FIEL

include individuals who assist voters, including Latino elderly voters, disabled voters, and voters

with limited English proficiency and limited literacy, to vote by mail including helping the voters

prepare their mail ballots; members of FIEL include individuals who assist voters, including

Latino, elderly, disabled, limited English proficiency and limited literacy voters, to vote in person

at the polling place, including assisting voters in navigating the polling place, interacting with poll

workers, using the voting equipment, reading and interpreting the ballot and recording a vote on

the ballot.

        211.   FIEL will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.

        212.   FIEL’s membership and staff include individuals who are chosen as assistors and

will be deterred from serving as chosen assistors by SB1’s requirement that the assistor fill out a

form, take an oath, and face criminal prosecution, conviction and punishment for inadvertently

making a mistake on the form or with the oath, or for providing necessary assistance to voters that

exceeds the scope of assistance described in the oath, or for encouraging a voter in a way that law

enforcement officials will conclude is “pressur[ing]” a voter to use them as an assistor in violation

of the required oath.

        213.   SB1 will also frustrate the mission of FIEL by reducing the number of people

available to assist voters, and reducing the voter turnout, of voters who rely on assistance, including

Latinos with limited English proficiency, limited literacy rates and low rates of voter turnout.




                                                  65
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 66 of 91




Members, employees, and the leadership of FIEL face felony prosecution, conviction and

punishment under SB1 for assisting voters to vote in person and vote by mail.

       214.    FIEL’s members include Latino registered voters, some of whom are disabled, have

limited English proficiency and/or have limited formal schooling and limited literacy. FIEL’s

members include Latino voters who require and use assistors of their choice to vote due to

disability or inability to read or write. These voters use their chosen assistors to navigate the

polling place, interact with poll workers, understand how to use the voting equipment and read,

interpret, mark and cast the ballot.

       215.    Some of FIEL’s members are illiterate because racially discriminatory practices in

Texas prevented them from gaining a formal education.

       216.    Members of FIEL include individuals who voted in Harris County in 2020 and cast

ballots using drive-thru voting and/or temporary structures for voting, mail ballot applications

proactively sent to them by election officials, and 24-hour voting.

       217.    JAMES LEWIN was an election judge in the 2020 Election, and he intends to serve

as an election judge in future Texas elections. Election judges are election officials in Texas. TEX.

ELEC. CODE § 1.005(4-a)(E). Before serving as an election judge in 2020, Mr. Lewin’s greatest

concern was that he and his team members would encounter disruption at the polls, including by

poll watchers who sought to delay the voting process and discourage or intimidate voters.

Fortunately, Mr. Lewin did not encounter any such disruptions during the 2020 Election.

However, because SB1 limits election judges’ ability to regulate poll watchers who engage in

interference and intimidating conduct, and because SB1 creates risk of criminal prosecution for

any “person” serving at a location “in an official capacity” who takes “any action to obstruct the

view of a watcher or distance the watcher from [the observed activity] in a manner that would



                                                 66
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 67 of 91




make observation not reasonably effective,” Mr. Lewin is concerned about his potential liability.

Mr. Lewin is uncertain what “action” would make a watcher's observation “not reasonably

effective.” If SB1 is implemented, Mr. Lewin may hesitate to volunteer as an election judge again

because of his (and his family members’) fear for his personal safety and because of fear of

criminal prosecution.

                                        COUNT I
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

        SB1 violates the First and Fourteenth Amendment of the U.S. Constitution.

       218.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       219.    This claim challenges Sections 2.04, 2.06, 2.07, 4.01, 4.06, 4.07, 4.09, 5.07, 5.13,

6.03, 6.04, 6.05, 6.06, and 7.04 of SB1.

       220.    A court considering a challenge to a state election law must carefully balance the

character and magnitude of injury to First and Fourteenth Amendment rights that the plaintiff seeks

to vindicate against the justifications offered by the state for the burdens imposed by the law. See

Burdick v. Takushi, 504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

       221.    The more a challenged law burdens the right to vote, the stricter the scrutiny courts

apply when evaluating the law. Tex. Indep. Party v. Kirk, 84 F.3d 178, 182 (5th Cir. 1996).

“However slight th[e] burden may appear, . . . it must be justified by relevant and legitimate state

interests sufficiently weighty to justify the limitation.” Crawford v. Marion Cnty. Election Bd.,

553 U.S. 181, 191 (2008) (Stevens, J., controlling op.) (quotation marks omitted).

       222.    SB1 inflicts severe burdens on Texas’s voters through each individual restriction

and the cumulative effect of all the measures that impose barriers to voting, including by:




                                                67
Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 68 of 91




  •   Targeting Texans who need assistance to vote—including people who have limited

      English proficiency, disabilities, and/or less formal education—by adding multiple

      new requirements that hinder the provision of assistance at the polling place,

      curbside, or in connection with mail ballots (e.g., Sections 6.03, 6.04, and 6.05) and

      by deterring those who would otherwise provide assistance (Section 6.06);

  •   Giving partisan poll watchers “free movement” to intimidate and harass voters and

      poll workers by expanding watchers’ authority while constraining election

      administrators’ ability to ensure peaceful, orderly elections under penalty of

      criminal prosecution (e.g., Sections 4.01, 4.06, 4.07, and 4.09);

  •   Quashing legitimate voter turnout initiatives through overbroad and vague criminal

      penalties for so-called “vote harvesting” (Section 7.04);

  •   Facilitating investigation and prosecution of perfectly legal activity by voters, such

      as being excused from jury service or having the same name as a non-resident in

      the county (Sections 2.04, 2.06, and 2.07);

  •   Increasing the likelihood that otherwise valid mail ballots and mail ballot

      applications from voters eligible to vote by mail will be rejected because of simple

      errors or omissions, or lack of information at the clerk’s office, notwithstanding the

      clerk’s ability to verify the mail ballot or mail ballot application by other means

      (Sections 5.07 and 5.13); and

  •   Forcing election officials to shift resources to meet tight deadlines for reporting

      voters for investigation and removing voters from the rolls to avoid additional

      requirements and penalties (Section 2.06).




                                       68
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 69 of 91




       223.    By prohibiting Plaintiffs, their employees, and their members (as applicable) from

communicating with voters about mail ballots, SB1’s new criminal restrictions on ballot assistance

and collection services (including what Texas self-servingly calls “vote harvesting services”) will

impose severe burdens on Texas voters wishing to vote by mail by limiting the number of people

available to assist them.

       224.    SB1’s enhanced information requirements, expanded oath, exposure to a potential

perjury charge, and accompanying enhanced criminal penalties for persons assisting voters will

impose severe burdens on, and in some cases entirely deny, the right to vote of Texas voters with

disabilities or language access barriers by limiting the number of people available to assist them

with voting in person, including curbside voting, or by mail, for fear of criminal prosecution.

       225.    SB1’s criminalization of all forms of compensated assistance will also impose

severe burdens on, and in some cases entirely deny, the right to vote of Texas voters with

disabilities, advanced age, and/or language barriers by limiting the number of people available to

assist them with voting by mail, for fear of criminal prosecution. Blind and elderly voters, voters

with disabilities, and voters who cannot read the languages in which ballots are printed because

they have limited English proficiency or limited literacy, are made the most vulnerable by these

new provisions. These groups already have difficulty voting and face even higher burdens under

the new law.

       226.    The law’s proponents have not demonstrated any evidence that voter assistance was

a major source of misconduct or fraud in Texas elections (the occurrence of which in any non-

trivial amount is entirely unproven) or that the pre-existing limitations on such assistance were

insufficient to identify and prosecute the very few instances of any such misconduct in this state.

In fact, with respect to vote by mail, Texas already imposes more restrictions on mail voting than



                                                69
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 70 of 91




most states in the country. And even in states that allow everyone to vote by mail, or even

affirmatively mail every registered voter a ballot, fraud is rare.

       227.    The additional requirements and limitations on filling out mail ballots and mail

ballot applications will result in the disenfranchisement of voters who are qualified to vote by mail

and whose mail ballots and mail ballot applications could be verified by other means.

       228.    Under SB1, poll watchers will be emboldened while election officials who would

otherwise be tasked with maintaining orderly elections will be deterred from taking action against

even clearly intimidating behavior. This makes it more likely that in-person voters who have

historically been targets of harassment, including people of color and individuals with disabilities,

will be subject to such abuse in and around polling places.

       229.    The challenged additional limitations on voting serve no legitimate state interest.

Indeed, any purported anti-fraud justification for these limitations is poorly disguised pretext.

                                        COUNT II
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

              SB1 Violates the Fourteenth Amendment of The U.S. Constitution

       230.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       231.    This claim challenges Sections 2.04, 2.07, 2.08, 2.11, 3.04, 3.09, 3.10, 3.12, 3.13,

4.01, 4.06, 4.07, 4.09, 6.03, 6.04, 6.05, 6.06, and 7.04 of SB1.

       232.    Section 1 of the Fourteenth Amendment to the United States Constitution provides:

               No state shall make or enforce any law which shall abridge the
               privileges or immunities of citizens of the United States; nor shall
               any state deprive any person of life, liberty, or property, without due
               process of law; nor deny to any person within its jurisdiction the
               equal protection of the laws.

U.S. Const. amend., XIV.


                                                  70
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 71 of 91




       233.    The Fourteenth Amendment prohibits intentional racial discrimination by state

actors. Discriminatory intent may be established by proof that the defendants used race as a

motivating factor in their decisions. Vill. of Arlington Heights v. Metropolitan Hous. Dev. Corp.,

429 U.S. 252, 265 (1977).

       234.    The facts alleged herein, among others to be uncovered during discovery, show that

SB1 was enacted, at least partly, with the intent to discriminate against voters of color, on the basis

of race and national origin, in violation of the United States Constitution.

       235.    SB1’s stated purpose as “relating to election integrity and security, including by

preventing fraud in the conduct of elections in this state” is unfounded pretext since there is no

evidence of widespread voter fraud in this state or any other state.

       236.    Texas has a long, well-documented history of discrimination against Latino and

Black citizens in the voting and electoral processes. Indeed, courts have repeatedly found that

Texas election laws were enacted with a discriminatory purpose or had a discriminatory effect—

particularly as it pertains to Texas’s Black and Latino voters.

       237.    SB1 was enacted following record turnout among Black, Latino, and Asian-

American voters in the 2018 and 2020 General Elections.

       238.    The challenged provisions of SB1 specifically target and disproportionately burden

assistance to voters with limited English proficiency, who are disproportionately Latino and Asian

American, and individuals with disabilities in Texas, who are disproportionately Black.

       239.    The disparate racial impact that the challenged limitations on voting would have on

Texas’s minority voters was also a subject of discussion and testimony throughout the legislative

process for SB1 and its precursor SB7.




                                                  71
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 72 of 91




        240.    The aforementioned burdens and restrictions of SB1 placed on voters

individually—and even more so collectively—abridge the opportunity of minority voters to

participate in the political process and exercise their right to vote.

        241.    Texas’s long history and ongoing record of racial discrimination in the context of

voting, the known and reasonably foreseeable discriminatory impact of SB1, the sequence of

events and substantive departures from the normal legislative process which resulted in the

enactment of SB1, and the tenuousness of the stated justifications for SB1 raise a strong inference

of a racially discriminatory purpose in violation of the Fourteenth Amendment.

                                       COUNT III
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

                SB1 Violates the Fifteenth Amendment of the U.S. Constitution

        242.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

        243.    This claim challenges Sections 2.04, 2.07, 2.08, 2.11, 3.04, 3.09, 3.10, 3.12, 3.13,

4.01, 4.06, 4.07, 4.09, 6.03, 6.04, 6.05, 6.06, and 7.04 of SB1.

        244.    Section 1 of the Fifteenth Amendment to the United States Constitution provides:

                The right of citizens of the United States to vote shall not be denied
                or abridged by the United States or by any State on account of race,
                color, or previous condition of servitude.

U.S. Const. amend., XV.

        245.    The Fifteenth Amendment enfranchised voters nationwide, regardless of race or

color, and is an independent source of authority to protect against discrimination in voting. “The

Amendment bans racial discrimination in voting by both state and nation. It thus establishes a

national policy . . . not to be discriminated against as voters in elections to determine public

governmental policies or to select public officials . . . .” Terry v. Adams, 345 U.S. 461, 467 (1953).


                                                  72
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 73 of 91




       246.    Similar to the Fourteenth Amendment, discriminatory intent under the Fifteenth

Amendment may be established by proof that the defendants used race as a motivating factor in

their decisions. Mobile v. Bolden, 446 U.S. 55, 62, (1980) (plurality opinion) (citing Vill. of

Arlington Heights, 429 U.S. at 265).

       247.    The facts alleged herein, among others to be uncovered during discovery, show that

SB1 was enacted, at least partly, with the intent to discriminate against voters of color, on the basis

of race and national origin, in violation of the United States Constitution.

       248.    SB1’s stated purpose as “relating to election integrity and security, including by

preventing fraud in the conduct of elections in this state” is unfounded pretext, since there is no

evidence of widespread voter fraud in this state or any other state.

       249.    Texas has a long, well-documented history of discrimination against Latino and

Black citizens in the voting and electoral processes. Indeed, courts have repeatedly found that

Texas election laws were enacted with a discriminatory purpose or had a discriminatory effect—

particularly as it pertains to Texas’s Black and Latino voters.

       250.    SB1 was enacted following record turnout among Black, Latino, and Asian-

American voters in the 2018 and 2020 General Elections.

       251.    The challenged provisions of SB1 specifically target and disproportionately burden

assistance to voters with limited English proficiency, who are disproportionately Latino and Asian

American, and individuals with disabilities in Texas, who are disproportionately Black.

       252.    The disparate racial impact that the challenged limitations on voting would have on

Texas’s minority voters was also a subject of discussion and testimony throughout the legislative

process for SB1 and its precursor SB7.




                                                  73
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 74 of 91




        253.    The aforementioned burdens and restrictions of SB1 placed on voters

individually—and even more so collectively—abridge the opportunity of minority voters to

participate in the political process and exercise their right to vote.

        254.    Texas’s long history and ongoing record of racial discrimination in the context of

voting, the known and reasonably foreseeable discriminatory impact of SB1, the sequence of

events and substantive departures from the normal legislative process which resulted in the

enactment of SB1, and the tenuousness of the stated justifications for SB1 raise a strong inference

of a racially discriminatory purpose in violation of the Fifteenth Amendment.

                                           COUNT IV
                                      Against All Defendants

                          SB1 discriminates against minority voters
         in violation of Section 2 of the Voting Rights Act, 52 U.S.C. § 10301, et seq.

        255.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

        256.    This claim challenges Sections 4.01, 4.06, 4.07, 4.09, 6.03, 6.04, 6.05, 6.06, and

7.04 of SB1.

        257.    Section 2 of the Voting Rights Act prohibits state political processes that are “not

equally open to participation” by minority voters, such that those voters “have less opportunity

than other members of the electorate to participate in the political process and to elect

representatives of their choice.” 52 U.S.C. § 10301.

        258.    Laws enacted with a racially discriminatory purpose and/or that have a

discriminatory effect violate Section 2. See Veasey, 830 F.3d at 229, 243; see also Thornburg v.

Gingles, 478 U.S. 30, 35 (1986).

        259.    Discriminatory intent may be established by proof that defendants used race as a

motivating factor in their decisions. See Village of Arlington Heights v. Metro. Hous. Dev. Corp.,

                                                  74
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 75 of 91




429 U.S. 252, 265–66 (1977). Even if a challenged legislation appears neutral on its face,

discriminatory intent may still be inferred by analyzing the context during and by which the

challenged provisions were enacted, and by reviewing the disproportionate racial impact of the

challenged provisions. See id. at 266–68; Veasey, 830 F.3d at 231–32.

        260.    SB1’s stated purpose as “relating to election integrity and security, including by

preventing fraud in the conduct of elections in this state” is unfounded pretext, since there is no

evidence of widespread voter fraud in this state or any other state.

        261.    Texas has a long, well-documented history of discrimination against Latino and

Black citizens in the voting and electoral processes.

        262.    SB1 was enacted following record turnout among Black, Latino, and Asian-

American voters in the 2018 and 2020 General Elections.

        263.    The challenged provisions of SB1 specifically target and disproportionately burden

assistance to voters with limited English proficiency, who are disproportionately Latino and Asian

American, and individuals with disabilities in Texas, who are disproportionately Black.

        264.    The aforementioned burdens and restrictions of SB1 placed on voters

individually—and even more so collectively—abridge the opportunity of minority voters to

participate in the political process and exercise their right to vote.

        265.    As a result, under the totality of the circumstances, SB1’s multifarious burdens and

restrictions individually and collectively violate Section 2 of the Voting Rights Act by abridging

and denying the right to vote and creating less opportunity for people of color than other members

of the electorate to participate in the political process and to elect representatives of their choice,

including Black and Latino voters, and including many of Plaintiffs’ members and congregants.

Texas’s political process is not equally open to participation by minority voters.



                                                  75
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 76 of 91




                                           COUNT V
                                      Against all Defendants

SB1 impedes voters’ practical ability to get necessary and statutorily guaranteed assistance
         in violation of Section 208 of the Voting Rights Act, 52 U.S.C. § 10508.

       266.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       267.    This claim challenges Sections 6.01, 6.03, 6.04, 6.05, 6.06, and 7.04 of SB1.

       268.    Section 208 of the Voting Rights Act provides that “[a]ny voter who requires

assistance to vote by reason of blindness, disability, or inability to read or write” in English for

any reason “may be given assistance by a person of the voter’s choice, other than the voter’s

employer or agent of that employer or officer or agent of the voter’s union.” 52 U.S.C. § 10508.

       269.    Section 208 thus establishes the right of a voter with a disability or a voter with

limited English proficiency or limited literacy to choose an assistor to assist the voter with the

voting process, including physically navigating the polling place, interacting with poll workers,

reading and interpreting the ballot, and marking the ballot.

       270.    Although Texas election law provides voters who need assistance with the right to

receive such assistance from a person of their choice as required by Section 208, SB1’s new

restrictions gut that provision by impeding the voter’s practical ability to get assistance.

Specifically, SB1:

           a. Increases the likelihood that ballots by voters with disabilities or who require

               assistance will be rejected (Section 6.05);

           b. Deters individuals from providing needed assistance to voters (Sections 6.01, 6.03,

               6.04, and 6.06); and

           c. Limits the type of assistance that voters can receive in filling out their ballot

               (Section 6.04).

                                                76
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 77 of 91




       271.    The challenged provisions of SB1 thus violate Section 208 of the Voting Rights

Act. OCA-Greater Houston v. Texas, 867 F.3d 604 (5th Cir. 2017) (holding that Texas law

limiting who can provide assistance to non-English speaking voters violated Section 208 of the

Voting Rights Act and noting that “a state cannot restrict this federally guaranteed right [Section

208] by enacting a statute tracking its language, then defining terms more restrictively than as

federally defined.”).

                                       COUNT VI
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

                 SB1 discriminates against voters on the basis of a disability
   in violation of Title II of the Americans with Disability Act, 42 U.S.C. § 12131, et seq.

       272.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       273.    This claim challenges Sections 6.01, 6.03, 6.04, 6.05, 6.06 and 7.04 of SB1.

       274.    Title II of the Americans with Disabilities Act (the “ADA”) provides that “no

qualified individual with a disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or activities of a public entity,

or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132.

       275.    The ADA directed the Attorney General of the United States to promulgate

regulations enforcing Title II of the ADA and provide guidance on their content. 42 U.S.C.

§ 12134. Regulations promulgated by the Attorney General require public entities to “make

reasonable modifications” to their programs and activities “when the modifications are necessary

to avoid discrimination.” 28 C.F.R. §35.130(b)(7). Regulations promulgated by the Attorney

General also make it unlawful discrimination for a public entity to:




                                                  77
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 78 of 91




       a.      “Afford a qualified individual with a disability an opportunity to participate in or

               benefit from the aid, benefit, or service that is not equal to that afforded others,”

               28 C.F.R. § 35.130(b)(1)(ii);

       b.      “Provide a qualified individual with a disability with an aid, benefit, or service

               that is not as effective in affording equal opportunity to obtain the same result, to

               gain the same benefit, or to reach the same level of achievement as that provided

               to others,” 28 C.F.R. § 35.130(b)(1)(iii);

       c.      “[U]tilize criteria or methods of administration . . . [t]hat have the purpose or

               effect of defeating or substantially impairing accomplishment of the objectives of

               the public entity’s program with respect to individuals with disabilities.” 28

               C.F.R. § 35.130(b)(3)(ii); and

       d.      “[I]mpose or apply eligibility criteria that screen out or tend to screen out” people

               with disabilities from “fully and equally enjoying” the programs, services or

               activities of state and local governments. 28 C.F.R. § 35.130(b)(8).

       276.    The ADA also states that it is unlawful to “coerce, intimidate, threaten, or interfere

with any individual in the exercise or enjoyment of . . . or on account of his or her having aided or

encouraged any other individual in the exercise or enjoyment of” any right protected by the ADA.

42 U.S.C. § 12203.

       277.    Title II of the ADA applies to all services, programs, and activities or public

entities, including voting. 42 U.S.C. § 12132. “Voting is a quintessential public activity” and,

accordingly, Title II requires state and local governments (i.e., “public entities”) to ensure that

people with disabilities have a full and equal opportunity to vote. Nat’l Fed’n of the Blind v.

Lamone, 813 F.3d 494, 507 (4th Cir. 2016) (noting in a case involving an ADA action by blind



                                                 78
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 79 of 91




voters against a Maryland election official that “[v]oting is a quintessential public activity. . . .

Ensuring that disabled individuals are afforded an opportunity to participate in voting that is equal

to that afforded others. . . .”) (citing 28 C.F.R. § 35.130); 28 C.F.R. § 35.130(b)(7).

       278.    The State of Texas is a public entity as defined in Title II of the ADA, and the

individual Defendants are the public officials responsible for running these public entities and

supervising their operations as to voting within the State of Texas and must comply with Title II

of the ADA. 42 U.S.C. § 12131(1).

       279.    The members and/or constituents of Plaintiff organizations LUPE, TEXAS

IMPACT, and FIEL include individuals with disabilities within the meaning of the ADA and are

entitled to the protections of the ADA. These individuals have a qualifying “disability” because

they have “a physical or mental impairment that substantially limits one or more major life

activities,” including, but not limited to “caring for oneself, performing manual tasks, seeing,

hearing, eating, sleeping, walking, standing, lifting, bending, speaking, breathing, learning,

reading, concentrating, thinking, communicating, and working.” 42 U.S.C. §§ 12102(1)(A),

(2)(A). These individuals are qualified for the programs, services, and activities being challenged

herein in that they are registered voters or otherwise eligible to request and cast a ballot, in Texas

elections, and are qualified to participate in Defendants’ programs and activities related to voting.

42 U.S.C. § 12131(2).

       280.    There is no valid justification for the burdens that SB1 imposes on voters with

disabilities in making it harder for them to get necessary assistance described herein, as such

restrictions will deny voters with disabilities equal access to the franchise and prevent such voters

from exercising their fundamental right to vote.




                                                 79
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 80 of 91




       281.       Specifically, Sections 6.01, 6.03, 6.04, 6.05, 6.06, and 7.04 of SB1 individually and

collectively discriminate against qualified Texas voters with disabilities exercising their right to

vote including on members and/or constituents of Plaintiff organizations as set forth above, in

violation of Title II of the Americans with Disabilities Act of 1990.

       282.       Through the acts and omissions described above, Defendants have discriminated

against Plaintiffs on the basis of disability in violation of Title II of the ADA and its implementing

regulations by:

       a.         Denying people with disabilities, including the members of Plaintiff organizations

                  LUPE, TEXAS IMPACT, and FIEL with disabilities, the opportunity to

                  participate in and benefit from voting in a way that is equal to that afforded to

                  those without disabilities;

       b.         Denying people with disabilities, including the members of Plaintiff organizations

                  LUPE, TEXAS IMPACT, and FIEL with disabilities, services that are as effective

                  in affording equal opportunity to obtain the same result, gain the same benefit, or

                  reach the same level of achievement as that provided other voters;

       c.         Imposing eligibility criteria that exclude or tend to exclude people with

                  disabilities, including the members of Plaintiff organizations LUPE, TEXAS

                  IMPACT, and FIEL with disabilities, from fully and equally enjoying the state’s

                  voting program;

       d.         Failing to reasonably modify the state’s voting system to provide the services that

                  people with disabilities, including the members of Plaintiff organizations LUPE,

                  TEXAS IMPACT, and FIEL with disabilities, need to avoid discrimination; and




                                                   80
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 81 of 91




       e.      Interfering with the ability of people with disabilities and the Plaintiff

               organizations LUPE, SVREP, TEXAS IMPACT, JOLT ACTION, and FIEL that

               assist them to exercise their rights under the ADA.

       283.    Unless the requested relief is granted, members of Plaintiff organizations LUPE,

TEXAS IMPACT, and FIEL who are qualified individuals with disabilities under the ADA and

those similarly situated will be discriminated against and denied adequate access to the franchise.

       284.    Unless the requested relief is granted, Plaintiff organizations LUPE, SVREP,

TEXAS IMPACT, JOLT ACTION and FIEL will be required to incur substantial costs and divert

resources from other activities in order to mitigate the effects of SB1’s impermissible burdens on

the ability of disabled persons to exercise their full and equal opportunity to vote.

       285.    The relief sought by Plaintiffs would not require a fundamental alteration to

Defendants’ programs, services, or activities.

                                      COUNT VII
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

           Section 7.04 of SB1 is unconstitutionally vague and burdens free speech
       in violation of the First and Fourteenth Amendments to the U.S. Constitution.

       286.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       287.    This claim challenges Section 7.04 of SB1.

       288.    A criminal law is unconstitutionally vague, and in violation of the Fourteenth

Amendment’s requirements of due process, if it “(1) fails to provide those targeted by the statute

a reasonable opportunity to know what conduct is prohibited or (2) is so indefinite that it allows

arbitrary and discriminatory enforcement.” Moore v. Brown, 868 F.3d 398, 406 (5th Cir. 2017)

(citation omitted); Women’s Med. Ctr. v. Bell, 248 F.3d 411, 422 (5th Cir. 2001). Courts apply a



                                                 81
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 82 of 91




“more stringent” vagueness inquiry when a law “interferes with the right of free speech or

association.” Holder v. Humanitarian Law Project, 561 U.S. 1, 19 (2010).

         289.   A speech restriction is also facially unconstitutional and overbroad, in violation of

the First Amendment, if “a substantial number of its applications are unconstitutional, judged in

relation to the statute’s plainly legitimate sweep.” United States v. Stevens, 559 U.S. 460, 473

(2010) (internal quotation marks omitted) (quoting Wash. State Grange v. Wash. State Republican

Party, 552 U.S. 442, 449 n.6 (2008)). A plaintiff “need only show that a statute or regulation

might operate unconstitutionally under some conceivable set of circumstances.”                Ctr. for

Individual Freedom v. Carmouche, 449 F.3d 655, 662 (5th Cir. 2006) (quoting United States v.

Salerno, 481 U.S. 739, 745 (1987)).

         290.   Section 7.04 is unconstitutionally vague and overbroad in violation of both the First

and Fourteenth Amendments because it because it fails to provide adequate notice of what is (or

is not) prohibited, invites arbitrary and discriminatory enforcement, and a substantial number of

its applications are unconstitutional when judged against its legitimate sweep.

         291.   First, Section 7.04 fails to provide adequate notice of what is (or is not) prohibited.

Section 7.04 of SB1 outlines a number of offenses for persons engaged in “vote harvesting

services,” which is confusingly defined as “in-person interaction with one or more voters, in the

physical presence of an official ballot or a ballot voted by mail, intended to deliver votes for a

specific candidate or measure.” 131 A violation results in a third-degree felony, subject to a

minimum of two years (and up to ten years) of jail time and a fine of up to $10,000. 132 Section 7.04



131
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 276.015(a)(2)).
132
      TEX. PENAL CODE § 12.34(a)–(b).


                                                  82
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 83 of 91




of SB1 does not define “in-person interaction,” potentially reaching a wide and varying range of

possibilities. The statute’s requirement that an interaction be “in the physical presence of” an

official ballot or mail ballot is also unclear and does not adequately define the possible kinds of

interactions that could come within the statute’s prohibitions.133 And the intent requirement (that

the interaction be “intended to deliver votes”) is also cryptic, apparently requiring nothing more

than a political motivation (as opposed to an actual intent to defraud or deceive).

          292.   Section 7.04’s requirement that a person receive “compensation or other benefit”

in exchange for the interaction does not ameliorate the vagueness. 134 Section 7.04 defines

“benefit” to mean “anything reasonably regarded as a gain or advantage,” no matter how minor. 135

The range of possible “benefit[s]” is itself wide and unpredictable to a reasonable person

attempting to understand what conduct the law prohibits.

          293.   Second, the lack of clarity (coupled with the provision’s breadth) invites arbitrary

and discriminatory enforcement. It would be largely up to prosecutors to determine whether to

bring charges based on any in-person interaction between two people in the presence of a ballot,

absentee ballot, or application for an absentee ballot. This possibility would be particularly acute

for campaign workers because a benefit can be “inferred.” A campaign worker could open herself

to the possibility of criminal prosecution virtually any time she speaks about her work to another

voter in the presence of a ballot, absentee ballot, or application for an absentee ballot.




133
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 276.015(a)(2)).
134
      Id. (codified at TEX. ELEC. CODE § 276.015(e)(1)).
135
      Id. (codified at TEX. ELEC. CODE § 276.015(a)(1)).


                                                  83
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 84 of 91




         294.   Likewise, because Section 7.04 of SB1 does not define “in-person interaction,” the

phrase impermissibly regulates a broad range of protected, political speech. Speech is plainly a

form of “in-person interaction.” The statute’s requirement that an interaction be “in the physical

presence of” an official ballot or mail ballot does not cure the overbreadth because pure speech is

still covered so long as it is uttered in close proximity to a mail ballot (e.g., in the same room or in

the voter’s purse). 136 The range of possible “benefit[s]” is also broad and encompasses any salary

paid to a campaign worker and any “benefit” given to a campaign volunteer (e.g., free coffee and

breakfast, campaign apparel, or tickets to a rally). And the statute does not require that any

compensation be provided for the specific speech at issue. The compensation could be for some

other “vote harvesting services,” yet the uncompensated in-person communication could still be a

crime.

         295.   Section 7.04 therefore prohibits a wide range of protected speech reaching well

beyond the statue’s legitimate reach.        Under Section 7.04, a substantial number of daily

conversations between a voter and a campaign worker or campaign volunteer are criminalized, so

long as the parties are discussing a particular candidate or ballot measure and a mail ballot happens

to be close enough to the voter and the campaign worker or volunteer to be considered “in the

physical presence” thereof. Section 7.04’s substantial overbreadth thus impermissibly regulates

constitutionally protected, political speech.

         296.   A law also violates the Fourteenth Amendment if it restricts the freedom of speech

protected by the First Amendment. Under the First Amendment, the “government has no power

to restrict expression because of its messages, its ideas, its subject matter, or its content.” Brown



136
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 276.015(a)(2)).


                                                  84
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 85 of 91




v. Entm’t Merch. Ass’n, 564 U.S. 786, 790–91 (2011). When a law regulates speech on the basis

of its content, it is presumptively unconstitutional and subject to strict scrutiny. See Reagan Nat’l

Adver. Of Austin v. City of Austin, 972 F.3d 696, 702 (5th Cir. 2020). A law is content based when

it “applies to particular speech because of the topic discussed or the idea or messaged expressed.”

Id. (citing Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015)).

       297.    Section 7.04 of SB1 also impermissibly regulates speech in violation of the First

Amendment. Speech is plainly a form of “in-person interaction.” And Section 7.04 regulates

speech on the basis of its content: namely, whether the speech is “intended to deliver votes for a

specific candidate or measure.” “Laws that burden political speech are ‘subject to strict scrutiny,’

which requires the Government to prove that the restriction ‘furthers a compelling interest and is

narrowly tailored to achieve that interest.’” Citizens United v. FEC, 558 U.S. 310, 340 (2010);

Dep’t of Tex., Veterans of Foreign Wars of U.S. v. Tex. Lottery Comm’n, 760 F.3d 427, 438–39

(5th Cir. 2014) (en banc) (quoting Citizens United). Speech that is used to encourage and assist

voters both implicates expressive conduct and also constitutes “the type of interactive

communication concerning political change that is appropriately described as ‘core political

speech.’” Meyer v. Grant, 486 U.S. 414, 421–22 (1988); see also NAACP v. Button, 371 U.S. 415,

437 (1963) (“Free trade in ideas [sic] means free trade in the opportunity to persuade to action

. . . .” (quoting Thomas v. Collins, 323 U.S. 516, 537 (1945))).

       298.    These new restrictions will have a chilling effect on Plaintiff organizations, who

employ paid canvassers and conduct GOTV activities, because the prohibited activities encompass

a wide range of interactions and conversations that may occur between Plaintiffs, their employees

and organizers, and voters. The extensive reach of the “vote harvesting” restrictions and the

accompanying threat of criminal and civil penalties will deter Plaintiffs’ members and volunteers



                                                 85
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 86 of 91




from participating in Plaintiffs’ voter education and GOTV efforts, thereby limiting the means by

which Plaintiffs and their constituents communicate with voters and engage in the political

process.

       299.     Section 7.04 does not promote any legitimate, much less compelling, governmental

interest. Section 7.04 also is not narrowly tailored to advance a compelling governmental interest

through the least restrictive means. In particular, Section 7.04 cannot be justified based on an

interest in preventing fraud because it is not limited in any way to conduct or speech that is

fraudulent, misleading, or unlawful, and it was already (i.e., before SB1) illegal to “influence the

independent exercise of the vote or another in the presences of a ballot during the election process

. . . .” (Tex. Elec. Code § 276.013) or to vote or attempt to vote using someone else’s ballot (id.

§ 64.012).

       300.     Those prohibitions cannot be constitutionally justified.        Section 7.04 thus

unconstitutionally infringes upon Plaintiffs’ rights under the First and Fourteenth Amendments,

and the Court should declare it unlawful and enjoin its implementation and enforcement.

                                        COUNT VIII
                Against Defendants Scott, Paxton, Creuzot, Rosales, and Garza

                         Section 4.09 of SB1 is unconstitutionally vague
              in violation of the Fourteenth Amendment to the U.S. Constitution

       301.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       302.     This claim challenges Sections 4.09 and 8.01 of SB1.

       303.     Section 4.09 of SB1 subjects persons serving in an official capacity at a polling

place to criminal liability as a Class A misdemeanor for taking “any action to obstruct the view of




                                                86
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 87 of 91




a watcher or distance the watcher from [the observed activity or procedure] in a manner that would

make observation not reasonably effective.” 137

        304.    Section 4.09 of SB1 does not impose any limitations on what “any action” may

constitute, how small it may be, or what it means to have the intent to obstruct or distance a watcher

“in a manner that would make observation not reasonably effective.”

        305.    Section 4.09 accordingly fails to provide adequate notice to poll workers, election

judges, and other officials of what steps, if any, they can take when interacting with a poll watcher

while still avoiding a risk of criminal liability.

        306.    Section 4.09 similarly invites arbitrary and discriminatory enforcement because

prosecutors have essentially free reign to assert, after the fact, that a poll worker took “any action”

with the intent to obstruct or distance a watcher “in a manner that would make observation not

reasonably effective.”

        307.    Section 4.09 thus gives poll watchers the ability to observe voting activities without

regard for the safety or privacy of voters or poll workers while election officials who attempt to

constrain poll watchers in order to maintain peaceful, orderly elections will face the penalty of

criminal prosecution. The threat of prosecution under Section 4.09 will cause individuals like

Plaintiff Lewin and members of FRIENDSHIP-WEST and TEXAS IMPACT to self-censor either

by refraining from serving as election officials in future elections, allowing poll watchers free reign

to potentially harass Texas voters or election workers, or having to significantly alter their

approach to engaging with poll watchers.




137
   S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.051(g)).


                                                     87
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 88 of 91




       308.    Because the poll watcher provision in Section 4.09 is unconstitutional, any civil

penalty imposed under Section 8.01 cannot be predicated on a violation of Section 4.09. Plaintiffs

are accordingly entitled under 42 U.S.C. § 1983 to the relief requested below.

       309.    For each of the foregoing reasons and as described above, Section 4.09 of SB1 is

unconstitutionally vague, and the Court should enjoin its implementation and enforcement.

                                       COUNT IX
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

        SB1 violates the First and Fourteenth Amendments of the U.S. Constitution.

       310.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       311.    This claim challenges Sections 6.01, 6.03, 6.04, 6.05, and 6.06 of SB1.

       312.    SB1’s enhanced information requirements, expanded oath, exposure to a potential

perjury charge, and accompanying enhanced criminal penalties for persons assisting voters in

Sections 6.01, 6.03, 6.04, 6.05, and 6.06 violate the free speech rights of individuals who assist

voters at the polling place and with respect to voting by mail.

       313.    The voter assistance restrictions violate the First and Fourteenth Amendments, on

their face and as applied, by imposing additional burdens on, and preventing through fear of

criminal prosecution, the delivery of voter assistance by assistors.

       314.    Because the voter assistance restrictions cannot be constitutionally justified, they

unconstitutionally infringe upon Plaintiffs’ rights under the First and Fourteenth Amendments, and

the Court should declare them unlawful and enjoin their implementation and enforcement.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the following relief:

               1.      A declaratory judgment that the challenged provisions in SB1 violate:


                                                 88
Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 89 of 91




                a.     the First and Fourteenth Amendments to the U.S. Constitution as
                       undue burdens on the right to vote;

                b.     the First and Fourteenth Amendments to the U.S. Constitution as
                       impermissible restrictions on freedom of speech;

                c.     the Equal Protection Clause of the Fourteenth Amendment of the
                       U.S. Constitution;

                d.     Section 208 of the Voting Rights Act;

                e.     Section 2 of the Voting Rights Act and the Fourteenth and
                       Fifteenth Amendments to the U.S. Constitution for racial
                       discrimination against minority voters; and

                f.     the Americans with Disabilities Act.

          2.    An injunction prohibiting Defendants, their respective agents, officers,

employees, and successors, and all persons acting in concert with each or any of them,

from enforcing any of the challenged provisions of SB1.

          3.    An injunction prohibiting Defendants Paxton, Creuzot, Rosales, Garza,

their agents, officers, employees, and successors, and all persons acting in concert with

each or any of them, from enforcing Section 8.01 of SB1, as applied to a violation of any

of the challenged provisions of SB1.

          4.    An order requiring Texas to preclear, under section 3(c) of the Voting

Rights Act (52 U.S.C. § 10302(c)), all changes in statewide voting practices for a period

of ten years;

          5.    An order awarding Plaintiffs their costs, expenses, and reasonable

attorneys’ fees pursuant to, inter alia, 52 U.S.C. § 20510(c), 42 U.S.C. § 1988 and other

applicable laws; and

          6.    Granting any such other and further relief as this Court deems just and

proper.



                                        89
       Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 90 of 91




Dated: January 22, 2022                  Respectfully submitted,

  /s/ Nina Perales                       /s/ Sean Morales-Doyle
Nina Perales                            Sean Morales-Doyle
Julia R. Longoria                       Eliza Sweren-Becker*
MEXICAN AMERICAN LEGAL DEFENSE AND      Patrick A. Berry*
EDUCATIONAL FUND                        Andrew B. Garber*
110 Broadway, Suite 300                 Jasleen K. Singh*
San Antonio, TX 78205                   BRENNAN CENTER FOR JUSTICE AT
Telephone: (210) 224-5476               NYU SCHOOL OF LAW
Facsimile: (210 224-5382                120 Broadway, Suite 1750
nperales@maldef.org                     New York, NY 10271
jlongoria@maldef.org                    Telephone: (646) 292-8310
                                        Facsimile: (212) 463-7308
Michael C. Keats*                       sean.morales-doyle@nyu.edu
Rebecca L. Martin*                      eliza.sweren-becker@nyu.edu
Jason S. Kanterman*                     patrick.berry@nyu.edu
Kevin Zhen*                             andrew.garber@nyu.edu
FRIED, FRANK, HARRIS, SHRIVER &
JACOBSON LLP                            * Admitted pro hac vice
One New York Plaza
New York, New York 10004                Paul R. Genender
Telephone: (212) 859-8000               Texas State Bar No. 00790758
Facsimile: (212) 859-4000               Elizabeth Y. Ryan
michael.keats@friedfrank.com            Texas State Bar No. 24067758
rebecca.martin@friedfrank.com           Matthew Berde*
jason.kanterman@friedfrank.com          Texas State Bar No. 24094379
kevin.zhen@friedfrank.com               Megan Cloud
* Admitted pro hac vice                 Texas State Bar No. 24116207
                                        WEIL, GOTSHAL & MANGES LLP
Attorneys for Plaintiffs:               200 Crescent Court, Suite 300
LA UNIÓN DEL PUEBLO ENTERO              Dallas, Texas 75201
SOUTHWEST VOTER REGISTRATION            Telephone: (214) 746-8158
 EDUCATION PROJECT                      Facsimile: (214)746-7777
MEXICAN AMERICAN BAR                    Liz.Ryan@weil.com
 ASSOCIATION OF TEXAS                   Paul.Genender@weil.com
TEXAS HISPANICS ORGANIZED FOR           Matt.Berde@weil.com
 POLITICAL EDUCATION                    Megan.Cloud@weil.com
JOLT ACTION
WILLIAM C. VELASQUEZ INSTITUTE          -and-
FIEL HOUSTON INC.
                                        Alexander P. Cohen*
                                        Texas State Bar No. 24109739
                                        WEIL, GOTSHAL & MANGES LLP
                                        767 Fifth Avenue
                                        New York, New York 10153
Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 91 of 91




                                 Telephone: (212) 310-8020
                                 Facsimile: (212) 310-8007
                                 Alexander.Cohen@weil.com

                                 * Admitted pro hac vice

                                 Attorneys for Plaintiffs:
                                 FRIENDSHIP-WEST BAPTIST
                                    CHURCH
                                 ANTI-DEFAMATION LEAGUE
                                    AUSTIN, SOUTHWEST, AND
                                    TEXOMA REGIONS
                                 TEXAS IMPACT
                                 JAMES LEWIN
